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   1                          UNITED STATES DISTRICT COURT

   2                          EASTERN DISTRICT OF NEW YORK

   3

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   5    UNITED STATES OF AMERICA,           : 09-CR-00466(BMC)

   6                                        :

   7                                        :

   8                                        :

   9              -against-                 : United States Courthouse.

  10                                        : Brooklyn, New York.

  11                                        :

  12                                        :

  13                                        : November 15, 2018

  14    JOAQUIN ARCHIVALDO GUZMÁN           : 9:30 a.m.

  15    LOERA,.                             :

  16                                        :

  17                Defendant.              :

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  21                  TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL

  22                   BEFORE THE HONORABLE BRIAN M. COGAN

  23                 UNITED STATES DISTRICT JUDGE, and a jury

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  21                   A P P E A R A N C E S:      (Continued)

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  25                             Narcotic and Dangerous Drug Section.



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  17    Court Reporter:               Anthony M. Mancuso, CSR

  18                                   Official Court Reporter

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  21    P r o c e e d i n g s r e c o r d e d by c o m p u t e r i z e d s t e n o g r a p h y .   Transcript

  22    p r o d u c e d by C o m p u t e r - a i d e d T r a n s c r i p t i o n .

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                      Zambada Garcia - direct - Parlovecchio                   770


   1               (Trial resumed.)

   2               (In open court; jury not present.)

   3               Jesus Reynaldo Zambada Garcia, resumed.

   4               THE COURT:    Good morning.

   5               Let's bring in the jury, please.

   6               (Jury present.)

   7               THE COURT:    All right.    Everyone be seated.      Good

   8    morning, ladies and gentlemen of the jury.         Hope you had a

   9    good evening.    We will continue with direct examination.

  10               MS. PARLOVECCHIO:     Thank you, your Honor.

  11    BY MS. PARLOVECCHIO:

  12    DIRECT EXAMINATION

  13    Q     Good morning, Mr. Zambada.

  14    A     Good morning.

  15    Q     I'm going to follow-up on some things that you testified

  16    about yesterday.     You testified yesterday that you referred to

  17    the defendant was Mi Compa Chapo, what does Mi Compa mean?

  18    A     It is an expression used for friendship with a person.

  19    Q     How did your brother Mayo refer to the defendant?

  20    A     In the same way.

  21    Q     Mi Compa Chapo?

  22    A     Every time he referred to him, he said that, Mi Compa

  23    Chapo.

  24    Q     Yesterday you testified that the Sinaloa Cartel had

  25    several different types of the workers.        Approximately how



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                        Zambada Garcia - direct - Parlovecchio               771


   1    many different types of the workers did you have working for

   2    you in your drug business at the time of your arrest in 2008?

   3    A     Between 30 and 40.

   4    Q     Were you able to observe the workers of the other leaders

   5    of the Sinaloa Cartel?

   6    A     At times.

   7    Q     And approximately how many did you observe during your

   8    time in the cartel, how many workers?

   9    A     Hundreds.

  10    Q     Approximately how many workers did you observe who worked

  11    for the defendant between the years 2002 and 2008?

  12    A     40, 50.

  13    Q     You testified yesterday that the defendant had a worker

  14    in Mexico City named Martin Moreno.        Who is Martin Moreno?

  15    A     It was a person who was arrested with him, when he was

  16    arrested in Guatemala and I met him in Mexico City as a worker

  17    of his.

  18    Q     Of the defendant's?

  19    A     Yes, of the defendant, El Chapo.

  20    Q     Mr. Zambada, just taking a step back, the word compa, is

  21    that short for something?

  22    A     Well, compadre is a word used about a relationship

  23    between two people, but it has to do with a religious act

  24    about with a child.     But the word compa is used to talk about

  25    a friend, who is a very good friend, that kind of



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                      Zambada Garcia - direct - Parlovecchio                 772


   1    relationship.

   2    Q     You testified yesterday that cocaine in Colombia cost

   3    about $3,000 per kilogram?

   4    A     That's right.

   5    Q     Was that $3,000 the price of the cocaine alone or did it

   6    include operational costs?

   7    A     It includes the operational costs of transport from

   8    Colombia to Mexico.

   9    Q     And approximately how much does that transport cost?

  10    A     Approximately $500.

  11    Q     And from the period of 1998 until your arrest in 2008 did

  12    the price of cocaine vary at all?

  13    A     Yes.

  14    Q     How did it vary?

  15    A     It may vary depending on the place, between two and

  16    $3,000.

  17    Q     What would cause that price of cocaine to vary?

  18    A     When there is not a lot of supply of the product it tends

  19    to go up.

  20    Q     The price goes up?

  21    A     Yes.   The price of cocaine, if there's not a lot of it,

  22    then that cost -- the demand causes the price to go up.

  23    Q     You testified yesterday that the size of the investment

  24    the defendant and your brother Mayo had together was six tons.

  25    What does that six-ton figure refer to?



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                       Zambada Garcia - direct - Parlovecchio                773


   1    A     Well, I was in charge of the warehouses in Mexico City

   2    where I received the shipments of cocaine for my brother Mayo

   3    and Joaquin Guzman Loera.      These shipments would normally be

   4    about five, six, seven tons.       And they would have a frequency

   5    of four or five times a year.

   6    Q     Approximately how many times did cocaine shipments of the

   7    six-ton size come to your warehouse for the defendant and your

   8    brother Mayo between 2002 and 2006?

   9    A     Four years, approximately 20.

  10    Q     What is the largest shipment you are aware of the

  11    defendant and your brother Mayo doing together during their

  12    entire partnership?

  13    A     Well, at one time I was -- I became aware that they were

  14    planning to bring a shipment of cocaine from Panama.

  15    Q     How large was that?

  16    A     This shipment was going to come in a merchant ship and it

  17    was 30 tons.

  18    Q     Now, you testified yesterday that you were in charge of

  19    Mexico City for the cartel?

  20    A     That's right.

  21    Q     In addition to supervising the warehouses, what were your

  22    main responsibilities in Mexico City for the cartel?

  23    A     Controlling the airport in Mexico City and also the

  24    governmental authorities to provide security, to the movement

  25    -- drug trafficking movements that the cartel had within the



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                       Zambada Garcia - direct - Parlovecchio                774


   1    city.

   2    Q       Now, when you say you had responsibilities with regard to

   3    the authorities, what do you mean by that?

   4    A       Well, I did this through bribes for high ranking police

   5    officers, officials.

   6    Q       And for what purpose would you give bribes to these high

   7    ranking officials?

   8    A       So that they would give protection and security to the

   9    drug trafficking movements of the cartel.         And security for

  10    the leaders, for myself and for the workers.

  11    Q       And what were these corrupt officials protecting the

  12    leaders and the drug trafficking from?

  13    A       Well, it was protection against police operations that

  14    would come out from Mexico City to capture in different points

  15    where they were located, mainly in Sinaloa.

  16    Q       So what did you receive in return for these bribe

  17    payments to government officials?

  18    A       In general, security for the cartel.

  19    Q       What did that entail?

  20    A       It meant that it provided security for any drug

  21    trafficking movements that the cartel had in Mexico City and

  22    anywhere else in the Mexican Republic and to their leaders.

  23    Q       Are you aware of the process the Sinaloa Cartel used to

  24    corrupt government officials?

  25    A       Yes.



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                         Zambada Garcia - direct - Parlovecchio              775


    1   Q       How do you know about that?

    2   A       Well, I did it.

    3   Q       You did what?

    4   A       One of my activities was to corrupt authorities in Mexico

    5   City.    You do that through friends, you know, that you have

    6   within the police from many years before.

    7   Q       Can you just please describe for the jury the process

    8   that you used to corrupt government officials?

    9   A       Yes, of course.

   10                  This is done through bribes, money, especially U.S.

   11   dollars.       Normally, it's police that you have known for many

   12   years who are trusted people.       They introduce new police

   13   officers to work with the cartel, through lawyers and

   14   professionals, people who have different professions.

   15   Q       Now, when you would make these bribe payments, did you do

   16   it just on your behalf or did you do it on the behalf of

   17   others?

   18   A       No.    I did it on my behalf and on behalf of the cartel,

   19   who were my brother Mayo Zambada and Chapo Guzman.

   20   Q       Did you personally make bribe payments for the defendant?

   21   A       Yes.

   22   Q       To whom did you pay bribes for the defendant?

   23   A       Military authorities.

   24   Q       Any specific ones?

   25   A       Yes.    On one occasion to military special ops and on a



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                        Zambada Garcia - direct - Parlovecchio               776


    1   different occasion to a general.

    2   Q     Who was the general you paid a bribe to for the

    3   defendant?

    4   A     General Toledano.

    5   Q     Approximately when did you pay that bribe for the

    6   defendant to General Toledano?

    7   A     Approximately in the year 2004.

    8   Q     And who is General Toledano?

    9   A     General Toledano at that time was working in the Guerrero

   10   Plaza in Chilpancingo specifically.

   11   Q     Let me show you Government's Exhibit 502.

   12                 THE COURT:    Is this in evidence?

   13                 MS. PARLOVECCHIO:   It's in evidence, your Honor.

   14   Q     Can you indicate on the map, on Government's Exhibit 502,

   15   where Guerrero is located?

   16   A     Here.

   17   Q     And that's on the coast?

   18   A     This is the coast here.      Here, Guerrero.     I'm looking for

   19   the capital city but I can't find it.

   20   Q     Let me see if I can zoom it in here.

   21   A     I think it's around here.

   22                 Acapulco.    I can't find Chilpancingo.    But the

   23   capitol is Chilpancingo.

   24   Q     Who asked you to bribe General Toledano?

   25   A      Chapo.



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    1   Q     And approximately how much did he ask you to pay the

    2   general?

    3   A     He asked me to go give him $100,000 from him, to go say

    4   hello to him and to give him his greetings.

    5   Q     The defendant asked you to do that, give him $100,000?

    6   A     That's right.

    7   Q     What was the bribe to General Toledano for?

    8   A     Well, at that time I was going to lead some drug

    9   trafficking activity.      I was going to import cocaine from

   10   Colombia through Guerrero.       I spoke about that with Joaquin

   11   Guzman Loera and with my brother Mayo.         And Chapo told me, you

   12   know, General Toledano is there, he's a friend of mine.              Go

   13   see him on my behalf and give him a hundred thousand dollars.

   14   Q     Did he say what it was for?

   15   A     Just that he was sending it to him as a gift and to greet

   16   him for him and to send him a hug and to notify him that I was

   17   going to be working around there in that state, to General

   18   Toledano.

   19   Q     Can you explain to the jury all the government officials

   20   you paid bribes to while you were at the cartel?

   21   A     Yes, certainly.

   22   Q     Go ahead.

   23   A     Well, mainly I would pay the commander of the PGR.             They

   24   call him Yankee.     That's the commander of the plaza.        The

   25   federal highway police who also managed ports and airports,



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    1   district judicial police and district police, Interpol as

    2   well.

    3   Q       Can you just remind the jury please what the PGR is?

    4   A       The PGR is a general attorney general office of the

    5   Republic of Mexico. The police, the federal judicial police

    6   depend on this department.       And different intelligence and

    7   operations groups, they have certain subdivisions within it.

    8   Q       Now, based on your experience, who of the government

    9   officials would the Sinaloa Cartel try to corrupt first before

   10   anyone else?

   11   A       Well, if we're speaking about the states, mainly the

   12   governor and the attorney       general, director of the judicial

   13   police and director of the municipal police and on the

   14   republic national level the national attorney          general and for

   15   the different departments the PGR, the federal highway police,

   16   the SIEDO.

   17   Q       What is SIEDO?

   18   A       Well, at the time that I was working with the cartel,

   19   this was the most important intelligence and operations group

   20   within the PGR.

   21   Q       Now, just to be clear, Mr. Zambada, is Mexico like the

   22   United States in that it has a state government and federal

   23   government structure?

   24   A       That's right.

   25   Q       And state as well?



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    1   A     Yes.   Yes.   The federal judicial police and the state

    2   police.    It's like saying D.C. Washington and all the states

    3   in the United States.      That's how the federal district and all

    4   the states are managed and that is Mexico City.

    5   Q     And would the cartel try to corrupt officials in both the

    6   state and the federal level?

    7   A     Yes.

    8   Q     Now, based on your knowledge and experience,

    9   approximately how much money did you pay in bribes to the

   10   government officials on behalf of the leaders of the cartel?

   11   A     In Mexico City around 300 dollars per month were paid --

   12   300,000, $300,000.

   13   Q     $300,000 per month was paid to officials in Mexico City?

   14   A     More or less.

   15   Q     And that's what you paid personally, correct?

   16   A     Correct, because that was the plaza that I was managing.

   17   Q     And how would you break that down?        Was that 300,000

   18   total to everyone you were paying?

   19   A     Yes, correct.    You would give part to the director of the

   20   federal attorney general's office, the Yankee, the federal

   21   highway police, the director of the judicial police, the

   22   director of the municipal police, the director of homicides,

   23   airport authorities.      All that added up to more or less around

   24   $300,000 monthly.

   25   Q     Now, you have named a lot of different types of



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    1   officials.    Were there some officials who were not taking

    2   bribes?

    3   A     Oh, yes, of course.

    4   Q     Were you aware of who handled bribing the highest level

    5   authorities on the federal level for the cartel?

    6   A     Yes.

    7   Q     And how do you know about that?

    8   A     Because I'm the brother of Ismael Zambada Garcia El Mayo

    9   and I had knowledge of how my brother made those very high

   10   level payments together with El Chapo.

   11   Q     What did your brother Mayo tell you about the high level

   12   officials he was paying for himself and the defendant?

   13   A     Well, I realized that because I was managing the money of

   14   my brother Mayo in Mexico City and he would say, as an

   15   example, I'll give half a million dollars to the attorney who

   16   is going to give it to the director of the PGR or give another

   17   500,000 to a general, for example.        For the cartel, the very

   18   high level authorities it was my brother Mayo and El           Chapo

   19   who managed that and they did it using lawyers.          But I was the

   20   one that gave out the money in Mexico City because I was in

   21   Mexico City, many times.

   22   Q     Mr. Zambada, do you know what a plaza is in the drug

   23   trafficking world?

   24   A     Yes, of course.

   25   Q     How do you know?



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    1   A       I was in charge of one.

    2   Q       Which one?

    3   A       Mexico City.

    4   Q       Can you explain to the jury what a plaza is in drug

    5   trafficking?

    6   A       A plaza is a territory which a drug trafficking leader

    7   manages, to give security to the drug trafficking operations

    8   and work that the cartel has within that territory.

    9   Q       And how does one do that, to give security in that plaza?

   10   A       Well, it starts with the support of the authorities.

   11   That's why one has to have the control over the authorities.

   12   And with the support of armed groups always, Sicarios.

   13   Q       Can more than one drug cartel control a plaza in the same

   14   city?

   15   A       No.

   16   Q       Why not?

   17   A       Because normally the authorities only work with one

   18   cartel.

   19   Q       Now, based on your experience, what did one member of

   20   Sinaloa have to do to do business in an area controlled by

   21   another leader of the Sinaloa Cartel?

   22   A       Well, he would have to have the permission of the

   23   principal leaders and from the leader of that plaza.

   24   Q       What's the purpose for getting the permission?

   25   A       You need to give notice so that there won't be



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    1   confrontations between the same people, the same people who

    2   belong to the cartel.

    3   Q     Now, based on your experience, if a member of the Sinaloa

    4   Cartel wanted to do business with an independent drug

    5   trafficker in an area controlled by another leader of the

    6   Sinaloa Cartel did they have to get permission?

    7   A     That's right.

    8   Q     Why was that necessary?

    9   A     You would need to give notice if you're going to go in

   10   and work in an area that's already controlled by another group

   11   because there's respect between the one and the other and

   12   there can be incidents which will arise if not between the

   13   people there.

   14   Q     What types of incidents?

   15   A     Well, there can be confrontations, people killed, fights.

   16   Q     Now, you testified that you controlled the Mexico City

   17   plaza.   Did any other leaders of the Sinaloa Cartel control

   18   that plaza with you?

   19   A     Well, the ones who stayed there the most the time that I

   20   was there working on it were Juan Jose Esparragoza el Azul or

   21   Arturo Beltran Leyva and my brother.

   22   Q     Are you aware of whether other leaders of the Sinaloa

   23   Cartel controlled any plazas other than Mexico City?

   24   A     Yes.

   25   Q     How do you know about that?



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    1   A       Well, I belonged to the cartel.     I knew my various

    2   colleagues and friends and those people.

    3   Q       And who controlled the Sinaloa state?

    4   A       Joaquin Guzman Loera El Chapo and Mayo, Ismael

    5   Esparragoza Azul.

    6   Q       Do you know whether they controlled other plazas besides

    7   Sinaloa?

    8   A       Yes.

    9   Q       Using Government's Exhibit 502 in evidence, can you

   10   please explain to the jury which plazas the defendant

   11   controlled starting in the year 2001 until your arrest in

   12   2008?

   13   A       The defendant basically controlled this area.

   14   Q       What is that area called that you just circled on the map

   15   which is the area between Sinaloa, Durango and Chihuahua?

   16   A       This area in the Mexican Republic has the name the Golden

   17   Triangle.

   18   Q       Why is it called the Golden Triangle?

   19   A       It's called the Golden Triangle because it's the area

   20   where the majority of the opium gum is produced in the state

   21   and marijuana.

   22   Q       Where does the term golden come from?

   23   A       Well, Durango means gold and gold is money and the heroin

   24   and marijuana produce a lot of money.

   25   Q       And how about the triangle part of the term, what is that



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    1   a reference to?

    2   A     Well, the triangle is because these three states border

    3   each other where these such exclusive products are produced.

    4   Q     Were there any other plazas that the defendant had

    5   control over in the time frame of 2001 to 2008?

    6   A     Well, he can control in all of the plazas.         There were

    7   subleaders from the cartel who were in control.

    8               (Continued on next page.)

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               Anthony M. Mancuso, CSR         Official Court Reporter
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                        Zambada Garcia - direct - Parlovecchio               785


    1   BY MS. PARLOVECCHIO:      (Continuing)

    2   Q     Using Government's Exhibit 502, can you please show the

    3   jury some of those other plazas where the defendant had

    4   controls through the subleaders?

    5   A     Of course, yes.     Let's start up here.     Baja California

    6   Sur, Sonora, Nayarit, Jalisco, Guerrero, Chiapas, Tabasco,

    7   Quintana Roo and Chihuahua, just to name some of them.

    8   Q     Okay.    So let's take these one by one and talk about the

    9   subleaders that controlled these plazas over whom the

   10   defendant had authority.

   11   A     Of course.

   12   Q     Let's start with Guadalajara.       And I'm going to try to

   13   touch on my screen.

   14                 Guadalajara, who is the subleader who controlled

   15   Guadalajara?

   16   A     Ignacio Coronel, Nacho.

   17   Q     And how about Quintana Roo?

   18   A     Benny Contreras.

   19   Q     And what about Guerrero?

   20   A     Arturo Beltran Leyva and his brother, Hector Beltran

   21   Leyva.

   22   Q     How about Chiapas, how did the defendant, through whom

   23   did the defendant control Chiapas?

   24   A     Again, Benny Contreras as well.

   25   Q     And Baja California?



                        CMH     OCR      RMR       CRR      FCRR
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    1   A     Nene Jaramillo.

    2   Q     Sonora?

    3   A     Macho Prieto Gonzalo Izunza.

    4   Q     And Chihuahua?

    5   A     German.

    6   Q     How about Nayarit?

    7   A     In Nayarit, there was Arturo Beltran Leyva and also Chapo

    8   directly.

    9   Q     Now, what about your brother Mayo, which plazas did he

   10   control?

   11   A     The same ones.      They're partners.

   12   Q     Now, you mentioned Nacho Coronel earlier as one of the

   13   subleaders.     Did you know Nacho Coronel?

   14   A     Yes.

   15                MS. PARLOVECCHIO:      I'm showing an exhibit just to

   16   the witness, please.

   17   Q     I'm showing you what's marked for identification as

   18   Government's Exhibit 7.         What is this?

   19   A     That's Ignacio Coronel Nacho.

   20   Q     How do you recognize him?

   21   A     We were very good friends.

   22                MS. PARLOVECCHIO:      I move to admit Government's

   23   Exhibit 7.

   24                MR. PURPURA:       No objection.

   25                THE COURT:    Received.



                        CMH       OCR       RMR     CRR     FCRR
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                        Zambada Garcia - direct - Parlovecchio                 787


    1                 (So marked.)

    2   Q     Just to remind us, what area of Mexico, what plaza did

    3   Nacho Coronel control?

    4   A     Nacho Coronel controlled Jalisco and I failed to point

    5   out Mexico City which was where I had control.

    6   Q     Okay.    And you also mentioned Arturo Beltran earlier as

    7   one of the subleaders.           Did you know Arturo Beltran?

    8   A     Yes, certainly.

    9   Q     I'm showing you what's marked for identification as

   10   Government's Exhibit 4.           What is this?

   11   A     That's Arturo Beltran.

   12   Q     And how do you recognize him?

   13   A     We also spent a lot of time together.          We were friends

   14   for a long time.

   15                 MS. PARLOVECCHIO:       The government moves to admit

   16   Government's Exhibit 4.

   17                 MR. PURPURA:       No objection.

   18                 THE COURT:    Received.

   19                 (So marked.)

   20   Q     And just to remind us, what area did Arturo Beltran

   21   control?

   22   A     Guerrero and Morelos as well.          I failed to point out

   23   Morelos.

   24   Q     And just using Government's Exhibit 502, can you tell us

   25   where Morelos is?



                        CMH        OCR       RMR     CRR     FCRR
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                       Zambada Garcia - direct - Parlovecchio                788


    1   A     Morelos is -- let me see.        Let's see here.

    2               Mexico, this here is Mexico City where I have

    3   measurable control, I had control.         And right next to it is

    4   Morelos, right here.      (Indicating.)

    5               It is between Mexico City and Guerrero.

    6   Q     And Guerrero, you testified Guerrero is here?

    7   (Indicating.)

    8   A     Exactly.    How can I erase here?

    9   Q     Bottom left-hand corner.

   10   A     Here, Cuerravaca, do you see that?         That's Morelos.    It's

   11   this point here.     There it is.      (Indicating.)

   12               That area was also controlled by Arturo Beltran.

   13   Q     What if any familial relationship did Arturo Beltran have

   14   with the defendant?

   15   A     I know they were cousins.

   16   Q     Now, you've testified about Juan Jose Esparragoza,

   17   El Azul.    Which area did El Azul control?

   18   A     Well, he was based in Mexico City but he had control the

   19   same way that Mayo and Chapo did over the entire Republic

   20   because he had a close friendship, relationship with all of

   21   the subleaders and the leaders.

   22               MS. PARLOVECCHIO:     Okay.    I'd just like to show the

   23   witness Government's Exhibit 6 in evidence.

   24   Q     Is this Azul?

   25   A     That's right.    That's Juan Jose Esparragoza, El Azul.



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                       Zambada Garcia - direct - Parlovecchio                  789


    1   Q     And just to be clear, why was Azul able to control all of

    2   Mexico through the other leaders of the cartel?

    3   A     Well, he was one of the oldest drug traffickers in

    4   Sinaloa and one of the most respected ones, I think.           He was

    5   very beloved by everybody.       So any plaza that he arrived at

    6   that had a leader, a subleader from Sinaloa, he was welcome

    7   there.

    8   Q     What was Azul's relationship with the defendant?

    9   A     Well, they were compadres and Azul was the one who

   10   basically supported Joaquin Guzman Loera to be a great drug

   11   trafficker.

   12   Q     Now, what was the most important plaza for the Sinaloa

   13   Cartel to control?

   14   A     Sinaloa.

   15   Q     Why was it important to be able to control Sinaloa for

   16   the cartel?

   17   A     Sinaloa was very important because of what we spoke

   18   about, about the golden triangle and, and -- sorry.           It has

   19   long shoreline as well where cocaine that's coming from

   20   Colombia can be received.       It has two merchant ports which are

   21   Mazatlan and Topolobampo.       And all of the leaders and

   22   subleaders of the Sinaloa Cartel have their families there,

   23   their businesses, their assets, their life.

   24   Q     I'm just showing you Government's Exhibit 502 again.

   25   I'll zoom in here to Sinaloa.



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                       Zambada Garcia - direct - Parlovecchio                790


    1   A     Sinaloa is this state and the capital is Culiacan which

    2   is here.

    3   Q     And the port cities you mentioned, can you show the jury

    4   where those are located?

    5   A     Mazatlan is here and Topolobampo is right here, right

    6   next to Mochis.      (Indicating.)

    7   Q     And that golden triangle area you mentioned?

    8   A     The golden triangle would be this part here.

    9   (Indicating.)     Tijuana, Sinaloa and Durango.

   10   Q     Thank you.     I'm going to erase this.     And using

   11   Government's Exhibit 502, I'll zoom out a bit now, could you

   12   show the jury the other plazas at Sinaloa that are

   13   particularly important to the Sinaloa Cartel?

   14   A     Well, Jalisco and Nayarit.        Those are states that are

   15   right next to Sinaloa.        Well, they were very important because

   16   of the seashore.      They're very important locations where

   17   cocaine can arrive from Colombia.

   18   Q     Were there any other plazas that were particularly

   19   important to the cartel?

   20   A     We can mark Guerrero\right here also because of the

   21   coastline.    (Indicating.)     Chiapas, Quintana Roo and Sonora

   22   and Chihuahua.

   23   Q     Why were Sonora and Chihuahua particularly important for

   24   the cartel?

   25   A     Because these are near the border points that are the



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                        Zambada Garcia - direct - Parlovecchio                 791


    1   crossings for drugs which are cocaine, marijuana, heroin and

    2   methamphetamine over to the United States.

    3   Q     What does this term "crossing" mean in drug trafficking?

    4   A     Well, when you arrive here to the edge of the Mexican

    5   Republic, you arrive at the border crossing.          It's the moment

    6   when you have to cross the drugs over to the United States

    7   when you reach this point.

    8   Q     What else did the cartel cross at these points besides

    9   drugs?

   10   A     It crossed the money that is produced by the sale of the

   11   drugs in the United States coming back to Mexico and weapons.

   12   Q     And where did those weapons principally come from?

   13   A     From the United States of America.

   14   Q     Are you aware of how the defendant Chapo Guzman crossed

   15   drugs into the United States?

   16   A     Well --

   17               MR. PURPURA:       Judge, objection.   Just 602.   There

   18   should be a basis at this point.

   19               MS. PARLOVECCHIO:      I can lay a foundation.

   20               THE COURT:    Please.

   21   Q     Mr. Zambada, how do you know about how the defendant

   22   Chapo Guzman crossed his drugs into the United States?

   23   A     Well, he and my brother worked in partnership and I

   24   always, one way or the other, always found out how my brother

   25   Mayo was crossing drugs over into the United States.



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                       Zambada Garcia - direct - Parlovecchio                792


    1   Q     What are some of the ways you would find out?

    2   A     Well, in Ciudad Juarez, they used tractor trailers to

    3   cross over large amounts.         And in Sonora, they used tunnels.

    4   And in Baja California, tunnels were used as well but that was

    5   at the beginning of my participation in the organization and

    6   that was when I found out of their existence.

    7   Q     Now, you mentioned tunnels.         During what period did your

    8   brother Mayo tell you about the defendant's tunnels?

    9                MR. PURPURA:       Objection, Your Honor.   That's a

   10   misstatement of the evidence.

   11                THE COURT:    Overruled.     It is cross-examination.

   12   A     My brother mentioned that specifically to me around 2004

   13   or 2005 that the defendant had a tunnel in Sonora and that

   14   they were going to work very quickly.

   15   Q     And you mentioned some other tunnels that you learned

   16   about that were earlier in your participation in the cartel.

   17   What tunnels were those?

   18   A     Specifically, in Tijuana, in the year 1987 or '88, when I

   19   was in Tijuana, it was known that the defendant had tunnels at

   20   the border with a Tijuana cartel who are the Arellano Felixes.

   21   Q     And just to be clear, you referenced some tunnels in

   22   Sonora.     Who did the tunnels in Sonora belong to?

   23   A     Well, my brother told me they were Chapo's.

   24   Q     Did Chapo personally cross drugs into the United States?

   25   A     No.



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                        Zambada Garcia - direct - Parlovecchio               793


    1   Q     Who did that for Chapo?

    2   A     The workers.

    3   Q     Now, what was your understanding of why Chapo did not

    4   personally bring drugs into the United States?

    5   A     Well, he was the boss, the leader.         He was a person who

    6   was very wanted.      He wasn't going to be doing the work that

    7   the other workers in the organization could do.

    8   Q     Now, did your brother Mayo tell you which worker was in

    9   charge of crossing cocaine over the border for him?

   10   A     In Ciudad Juarez, he had German.

   11   Q     Did you ever meet German?

   12   A     Yes, certainly.

   13               MS. PARLOVECCHIO:       Let me show an exhibit to the

   14   witness, please.

   15   Q     I'm showing you what's marked for identification as

   16   Government's Exhibit 78.        Who is depicted in this photograph?

   17   A     German.

   18   Q     How do you recognize him?

   19   A     I spent time with him several times.

   20               MS. PARLOVECCHIO:       The government moves to admit

   21   Government Exhibit 78.

   22               MR. PURPURA:       No objection, Your Honor.

   23               THE COURT:    Received.

   24               (So marked.)

   25   Q     And just to be clear, Mr. Zambada, where did German work



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                       Zambada Garcia - direct - Parlovecchio                794


    1   crossing drugs into the United States?

    2   A     In Ciudad Juarez.

    3   Q     What method was German using to cross drugs into the

    4   United States?

    5   A     He was using the tractor trailer trucks, trailers.

    6   Q     And over approximately what time period was he doing this

    7   for the cartel?

    8   A     Many years, maybe from 1994 to 2005, 2006.

    9   Q     You testified earlier that in your role as a leader of

   10   the Sinaloa Cartel, you knew about how cocaine was moved from

   11   Mexico to the United States?

   12   A     That's right.

   13   Q     Did you become aware of the methods that the cartel used

   14   to smuggle drugs across the Mexico United States border?

   15   A     Yes.

   16   Q     How did you learn about that?

   17   A     Well, because I belonged to the cartel and I had

   18   knowledge of how it was operating.

   19   Q     What were some of the methods used over the 20 year

   20   period that you were with the Sinaloa Cartel that crossed

   21   drugs into the United States?

   22   A     Well, when I started, they were crossed in gas tanks,

   23   large quantities.     Cars, pickups were used.      Then, after that,

   24   tractor trailer trucks started being used.         The train was

   25   used, with chemical products, that the train was used, that



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                       Zambada Garcia - direct - Parlovecchio                795


    1   the train was bringing up here to the United States and that

    2   would, drugs were crossed with it.        And then in 2004-2005 was

    3   when I found out that tunnels were being used from direct

    4   comments from my brother.

    5   Q       Now, on occasions when there's extra security at the

    6   U.S.-Mexico border, did the method of crossing drugs change or

    7   did it stay the same?

    8   A       Well, when there's a very large operation taking place on

    9   the American side for the crossing, small cars are used with

   10   compartments for between 20 to 50 kilos.

   11   Q       And these compartments that you're referring to, what

   12   types of compartments were used in the cars?

   13   A       Small places in the car that are specially conditioned so

   14   you could put in 20 kilos, 10 kilos, 50 kilos, cocaine, the

   15   drugs that were being crossed.

   16   Q       And were those compartments hidden?

   17   A       That's the objective.

   18   Q       Now, what was the purpose of using smaller vehicles when

   19   there's more security at the border?

   20   A       Well, it's much harder for the authorities to detect them

   21   because on the same day, thousands of vehicles are crossing

   22   over.    If you send ten cars per day, well, that's 200 kilos.

   23   If you lose one, you've lost 20.        That's not a lot.     And when

   24   there are very large operations taking place, it's sort of

   25   the, you could say, the ant speed operation to cross the



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                       Zambada Garcia - direct - Parlovecchio                796


    1   drugs.

    2   Q     Now, you testified earlier about tunnels that the cartel

    3   used and you testified that your brother told you about the

    4   tunnels.     Did you have any other conversations with other

    5   leaders about the tunnels the cartel used to smuggle drugs?

    6   A     With Nacho Coronel.

    7   Q     Showing you what's in evidence as Government Exhibit 7.

    8   A     That's Nacho Coronel.

    9   Q     What did Nacho Coronel tell you about the tunnels?

   10   A     He told me that the person in charge of making the

   11   tunnels for the cartel was Avelino Insunza.         He was a very

   12   intelligent person who was very important within the cartel.

   13   Q     On whose behalf did Avelino Insunza build the tunnels?

   14   A     He told me for Chapo, for him, for the cartel.

   15   Q     Nacho told you that?

   16   A     Yes.    Yes.   Nacho spoke to me about that person.

   17   Q     And based on these conversations, did you have an

   18   understanding about whether Nacho used the tunnels as well?

   19   A     Yes, yes, through Baja California.

   20   Q     Approximately when did your brother Nacho and the

   21   defendant use tunnels to smuggle drugs?

   22   A     Well, specifically, the one time was when my brother

   23   spoke to me specifically that they were going to be using a

   24   tunnel in Sonora.

   25   Q     And that was when?



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                       Zambada Garcia - direct - Parlovecchio                797


    1   A     More or less around 2004, 2005.

    2   Q     Now, did you have an understanding why your brother Mayo

    3   and the defendant used tunnels?

    4   A     Well, it's the most secure way to cross drugs over to the

    5   United States, the cocaine, the heroin, the marijuana,

    6   methamphetamines, and it's the securest way for the money

    7   which is being returned back and the easiest way to cross over

    8   weapons.

    9   Q     Did you have an understanding about whether there were

   10   any other advantages aside from the security and the ease of

   11   crossing?

   12   A     The speed.     That's why Chapo, for a period of time, the

   13   Colombians specifically called him the speedy one.

   14   Q     Now, you testified about the importance of controlling a

   15   plaza.   What are some of the means by which the Sinaloa Cartel

   16   would take control of a plaza?

   17   A     Well, mainly bribing the authorities to have government

   18   control and using the armed group, the Sicarios, so that no

   19   other group will come into that plaza.

   20   Q     Now, if the drug trafficking group doesn't agree to work

   21   with the Sinaloa Cartel in a particular plaza, how would the

   22   Sinaloa Cartel assert control in that plaza?

   23   A     Well, if one group comes into a plaza controlled by

   24   another group without getting permission, then the people are

   25   going to get killed if they come in without permission.



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                       Zambada Garcia - direct - Parlovecchio                798


    1   Q     Mr. Zambada, have you ever heard the term "war" used in

    2   connection with drug trafficking?

    3   A     Yes.

    4   Q     What does that mean?

    5   A     It means confrontation between one drug trafficking group

    6   and another one in a violent manner.

    7   Q     Was the Sinaloa Cartel ever involved in any wars during

    8   your membership with the cartel?

    9   A     Yes, of course.

   10   Q     And how do you know about that?

   11   A     Well, because I had to participate.

   12   Q     And how did you participate?

   13   A     Well, because I'm the brother of Mayo Zambada.          I had to

   14   take care of myself and I had to support the war.

   15   Q     And generally what happened during these wars?

   16   A     They always end up with deaths.       There's always a lot of

   17   deaths.

   18   Q     Who in the Sinaloa Cartel led these wars?

   19                MR. PURPURA:     Again, Judge, time frame, if we may.

   20                THE COURT: Let him finish the answer and then ask

   21   the time frame.

   22                MS. PARLOVECCHIO:    Yes, Your Honor.

   23   A     Could you repeat it to me, please?

   24   Q     Yes.   During your membership in the cartel from 1987

   25   until 2008 when you were arrested, who within the Sinaloa



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                       Zambada Garcia - direct - Parlovecchio                799


    1   Cartel led these wars?

    2   A     Well, one of the leaders who headed some of the war was

    3   Joaquin Guzman Loera, El Chapo, and another time period,

    4   Arturo Beltran Leyva, my brother, Mayo Zambada, Nacho Coronel,

    5   me.

    6   Q     What were the wars that took place during your time in

    7   the Sinaloa Cartel?

    8   A     Well, the first one that was lived through was the one

    9   between the Arellano Felixes and Joaquin Guzman Loera.           Then

   10   we lived through the one of Arturo Beltran Leyva with the

   11   Zetas.   And then the one between Joaquin Guzman Loera and

   12   Arturo Guzman, excuse me, Arturo Beltran.

   13   Q     So just to be clear, the war that you described was

   14   between the defendant and Arturo Beltran Leyva and the Zetas?

   15   A     Arturo Beltran was the one who was leading it but he had

   16   the support of the Sinaloa group.        And after that, there came

   17   a war between Arturo Beltran and Joaquin Guzman Loera,

   18   El Chapo.

   19   Q     Now, to your knowledge, who fought these wars for the

   20   defendant?

   21   A     The assistants, the Sicarios, and whoever had to do it.

   22   Q     What, if any, compensation system did the cartel have for

   23   Sicarios?

   24   A     Well, in particular, they have a salary.         They're given

   25   certain type of compensation in gifts when they take part in



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                       Zambada Garcia - direct - Parlovecchio                800


    1   some kind of special operation or they kill some particularly

    2   important person.

    3               (Continued on next page.)

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                     J. Zambada Garcia - direct - Parlovecchio               801


    1   BY MS. PARLOVECCHIO (Continuing):

    2   Q     Who were the top leaders in the cartel the sicarios took

    3   orders from?

    4   A     In the Sinaloa cartel during my time, one of the

    5   principal ones was Macho Prieto in Sonora; and in Mexico City,

    6   El Mechudo, Benny, on behalf of my brother Ismael Zambada.

    7   Q     And who are the ultimate leaders to whom the sicarios

    8   answered?

    9   A     When we were joined together, we belonged to the same

   10   group, and they were commanded by my brother Ismael Zambada

   11   Garcia and Joaquin Guzman Chapo.

   12   Q     You testified that you supported the wars.

   13               What does that mean?     How did you support the wars?

   14   A     Well, given the government work that I had at a certain

   15   time, carrying out intelligence activities to identify where

   16   the enemies were, sometimes passing orders to the sicarios

   17   from the leaders, in general.

   18   Q     Now, based on your experience in the Sinaloa cartel, if a

   19   member of Sinaloa wanted to kill a high level drug trafficker,

   20   did they have to follow any protocol?

   21   A     Yes, certainly.

   22   Q     What was the protocol?

   23   A     Well, you need to take into account the main leader of

   24   main leaders of the cartel.       And its talked about among the

   25   subleaders so an agreement can be reached about whether that



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                     J. Zambada Garcia - direct - Parlovecchio               802


    1   person is going to be eliminated or not, especially when we're

    2   talking about another leader in the cartel.

    3   Q     Now, based on your experience, who from the Sinaloa

    4   cartel could give authorization for a murder?

    5   A     Joaquin Guzman Loera and my brother Ismael Zambada

    6   Garcia.

    7   Q     As one of the leaders of the Sinaloa cartel, did you

    8   become aware of unauthorized murders of traffickers?

    9   A     I don't remember.

   10   Q     Now, based on your experience, did law enforcement in

   11   Mexico investigate the murders ordered by the Sinaloa cartel?

   12   A     Yes.

   13   Q     What did you do if you became aware that a member of law

   14   enforcement investigated a murder that a member of the Sinaloa

   15   cartel had been involved in?

   16   A     Well, it was talking to the homicide commander and ask

   17   him to find out what was the line of investigation that was

   18   being followed.

   19   Q     What would you do after you made that inquiry?

   20   A     If it was positive that the investigation was about the

   21   cartel, then the commander was asked to, you know, turn the

   22   investigation or stop it.

   23   Q     What are some of the ways the cartel would try to stop

   24   the investigations of murders?

   25   A     Through bribes, money.



                                 LAM       OCR      RPR
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                      J. Zambada Garcia - direct - Parlovecchio              803


    1   Q     Are you aware of whether other leaders of the Sinaloa

    2   cartel tried to derail murder investigations in a similar

    3   manner?

    4                 MR. PURPURA:   Objection, foundation, 602, base of

    5   knowledge.

    6                 MS. PARLOVECCHIO:    Your Honor, that's --

    7                 THE COURT:   She asked if he's aware.     He can say if

    8   he's aware, then she'll ask how do you know.

    9                 Go ahead.

   10   Q     How do you know, sir?       How did you know about this?

   11   A     Can you repeat the question, please?

   12   Q     Sure.

   13                 Are you aware of whether other leaders of Sinaloa

   14   tried to derail murder investigations?

   15   A     Yes, certainly.

   16   Q     How do you know about that?

   17   A     Well, I was in Mexico City, and sometimes there were

   18   homicides that had been ordered by the leaders of the cartel

   19   or by some leaders in other states, and I was asked to check

   20   whether there were any investigations that could affect any

   21   members of the cartel.

   22                 THE COURT:   When you have a convenient breaking

   23   point, we should take a morning break.         Unless you are nearly

   24   done, which it doesn't sound like you are.

   25                 MS. PARLOVECCHIO:    This is actually a perfect time.



                                   LAM     OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               804


    1               THE COURT:    Let's take our morning break.       Remember

    2   not to talk about the case.       We'll see you back in here at

    3   11:30.

    4               (Jury exits.)

    5               THE COURT:    Have a seat for just a minute.       One

    6   brief thing I want to mention.       I think you can wait to take

    7   the witness out.

    8               We had a discussion at sidebar yesterday about

    9   whether Government agents' out-of-court statements might fall

   10   under Rule 801(d)(2)(D).       I want you to look at these cases

   11   which I read as saying no, they don't:         U.S. v. Veldez, 355 F.

   12   3d 80, Second Circuit, 2004; and U.S. v. Santos, 372 F. 2d 177

   13   at Pages 180 to 81, that's Second Circuit, 1967.           Take a look

   14   at those and see if you can be prepared for them.

   15               Okay.   11:30.

   16               (Recess taken.)

   17               THE COURT:    Please bring in the jury.

   18               How much more do you think you've got, hours?

   19               MS. PARLOVECCHIO:     We'll get through the day, Judge.

   20               THE COURT:    Think about shortening it.

   21               (Jury enters.)

   22               THE COURT:    Be seated.     Let's continue.

   23               MS. PARLOVECCHIO:     Thank you, your Honor.

   24   BY MS. PARLOVECCHIO:

   25   Q     Mr. Zambada, before the break, you testified about some



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                     J. Zambada Garcia - direct - Parlovecchio               805


    1   of the wars that the Sinaloa cartel was involved in during

    2   your membership in the cartel.

    3   A     Yes.

    4   Q     Now, you talked about the war with the Arellano Felixes.

    5                Who was fighting in the war with the Arellano

    6   Felixes?     What were the sides?

    7   A     Well, the Arellano Felix brothers were fighting against

    8   Joaquin Guzman Loera, El Chapo, in the years '86, '87, '90.

    9   Q     How long did that continue?

   10   A     That war went on until 2006, I think.

   11   Q     And you mentioned the war between the Zetas and the

   12   Sinaloa cartel.

   13                Approximately, when did that war take place?

   14   A     That war took place in the year 2003 to 2006 also.

   15   Q     And the war with the Beltran Leyvas?

   16   A     Well, the war with the Beltran Leyvas started in a way in

   17   2007, but it became violent in 2008.

   18   Q     And who were on the sides of that war?

   19   A     For the Beltran Leyva war, it was Arturo Beltran, Chapo

   20   Guzman, and my brother Mario Zambada.

   21   Q     To be clear, this war was between who versus who?

   22   A     Joaquin Guzman Loera versus Arturo Beltran.         My brother

   23   Mayo was on the side of Joaquin Guzman Loera.

   24   Q     Are you aware of a war between the Sinaloa cartel and the

   25   Carillo Fuentes?



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               806


    1   A     Yes.

    2   Q     Who was on each side of the war between the Sinaloa

    3   cartel and the Carillo Fuentes organization?

    4   A     Well, on the Carillo Fuentes side, it was Vicente

    5   Carillo.     And on the Sinaloa side, it was Joaquin Guzman Loera

    6   and my brother Mayo.

    7   Q     We talked a lot about the Sinaloa cartel's cocaine

    8   trafficking business.

    9                Are you aware of the Sinaloa cartel's trafficking

   10   activities with regard to heroin?

   11   A     Yes.

   12   Q     How do you know about that?

   13   A     Well, it's one of the products that the Sinaloa cartel

   14   has always handled throughout its history.

   15   Q     What did the Sinaloa cartel do in the heroin trafficking

   16   business when you were in the cartel?

   17   A     Planting the poppies, growing it, growing them,

   18   processing them.     And they bring it here to the United States

   19   to sell it.

   20   Q     Did the Sinaloa cartel do the processing of the heroin

   21   you just mentioned?

   22   A     Yes.

   23   Q     Based on your experience, how did the Sinaloa cartel

   24   produce heroin?

   25   A     Through labs with chemicals.



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                     J. Zambada Garcia - direct - Parlovecchio               807


    1   Q     And what's the purpose of making heroin?

    2   A     To sell it here in the United States.

    3   Q     What, if any, role did the Defendant play in the cartel's

    4   heroin trafficking activity?

    5   A     Well, the Golden Triangle area where the Defendant used

    6   to live is the place where most of the poppies are grown, as

    7   well as marijuana.

    8   Q     Was that area his territory where they were grown?

    9   A     Exactly.

   10   Q     Now, you just mentioned marijuana.

   11               What, if anything, did the Sinaloa cartel do with

   12   regard to marijuana?

   13   A     It exports it to the United States for sale as well.

   14   Q     How do you know about that?

   15   A     Well, that's -- I lived through it.         I noticed it.   These

   16   are businesses that I did not participate in directly, but

   17   because I was part of the cartel I knew that they were doing

   18   these activities.

   19   Q     Did you know about the Defendants' marijuana trafficking

   20   activities?

   21   A     Well, when I would go visit him in the mountains, I could

   22   see sometimes from the helicopter or plane that I was in all

   23   the crops on the mountains.

   24   Q     What types of crops?

   25   A     Sometimes marijuana, sometimes poppy.



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                     J. Zambada Garcia - direct - Parlovecchio               808


    1   Q     And in those areas where you saw the crops, was that in

    2   the Defendant's territory?

    3   A     Where he lived with his people.

    4   Q     Now, you testified earlier that the Sinaloa cartel

    5   trafficked methamphetamines.

    6   A     That's right.

    7   Q     Do you know whether the Defendant participated in the

    8   Sinaloa cartel's methamphetamine trafficking?

    9   A     Yes.

   10   Q     How do you know about that?

   11   A     Well, because one time he sent a person to Mexico City to

   12   meet with me about importation of ephedrine from an Asian

   13   country.

   14   Q     Who was this individual?

   15   A     They called him Chespiro.

   16   Q     Who is Chespiro?

   17   A     I met him for the first time on this occasion.          He told

   18   me he was coming on behalf of Chapo and he told me that he was

   19   the boss of the production of these products in Sinaloa for

   20   the cartel.

   21   Q     Methamphetamine products?

   22   A     That's right.

   23   Q     When did this meeting take place?

   24   A     Maybe 2004, beginning of 2005.       Or beginning of 2004,

   25   more or less.



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                     J. Zambada Garcia - direct - Parlovecchio               809


    1   Q     Where did you meet El Chespiro?

    2   A     I met in Mexico, in Mexico City, in a park.

    3   Q     What did you discuss with him?

    4   A     Well, he asked me to give him legal support to be able to

    5   import tons of ephedrine.       He was talking about 15 or 20 tons.

    6   I don't remember exactly from which country.          One of those

    7   Asian countries, over on that side.

    8   Q     What is this "legal support" you're referring to?

    9   A     He wanted to do this importation through a commercial

   10   business, and I had the way to be able to do that.

   11   Q     What's the purpose of using a legal commercial business

   12   for doing importation like this?

   13   A     Well, it's the ephedrine itself, right, it's coming from

   14   countries which are very distant, far away, so it needs to be

   15   done with a merchant ship in a container from company to

   16   company and figuring there, it's a legal importation to be

   17   able to have it arrive in Mexico.

   18   Q     The purpose for using a legal company versus not having a

   19   company set up?

   20   A     You create these companies.        You could say in a

   21   fictitious way or at that moment, they're real.          And since you

   22   use them and then you disappear them, the way is to import a

   23   legal product two or three times, the fourth time the

   24   ephedrine is imported, and then you disappear the company just

   25   in case it would be being surveilled or followed.



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                     J. Zambada Garcia - direct - Parlovecchio               810


    1   Q     What does the term "ice" mean in drug trafficking?

    2   A     It's a drug which is produced precisely with ephedrine.

    3   And when the process is finished of mixing these chemical

    4   products with the ephedrine, what is the result is ice.           The

    5   appearance is if it were pieces of ice.

    6   Q     You testified that El Chespiro, who was in charge of

    7   methamphetamines for the Defendant, was sent to you by the

    8   Defendant?

    9   A     That's right.

   10   Q     How do you know that it was the Defendant who had set

   11   Chespiro to see you?

   12   A     Chespiro told me.

   13   Q     Did anyone else tell you?

   14   A     My brother also told me.      My brother is the one who set

   15   up the appointment.

   16   Q     Mr. Zambada, where do you live right now?

   17   A     I live in prison, in jail.

   18   Q     Did you have a nickname before you were arrested?

   19   A     Yes.

   20   Q     What was your nickname?

   21   A     Rey.

   22   Q     How did you earn that nickname?

   23   A     I earned it when I was born.

   24

   25                (Continued on the next page.)



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                        Zambada Garcia - direct - Parlovecchio               811


    1   MS. PARLOVECCHIO:

    2   Q     Well --

    3   A     When I was born, -- when I was born my father named me

    4   Jesus and he said, well, the king is born, ray.          And he always

    5   called me Rey, king, the whole time, so as a consequence

    6   everybody always called me Rey.

    7   Q     What is your birth order in your family?

    8   A     I'm the last one.

    9   Q     You're the youngest?

   10   A     The youngest one.

   11   Q     Now, you testified yesterday that you began working in

   12   the drug business by helping your brother Mayo with his drug

   13   accounts?

   14   A     That's right.

   15   Q     Why were you helping your brother Mayo with his

   16   accounting in particular?

   17   A     Well, he requested help from me because my brother was

   18   having problems with his business.

   19   Q     Did you have any special training that allowed you to

   20   help him?

   21   A     Yes, of course.     I got my college degree in accounting.

   22   Q     Did you have a legitimate job prior to going to work with

   23   your brother Mayo?

   24   A     Yes, of course.

   25   Q     What did you do?



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                       Zambada Garcia - direct - Parlovecchio                812


    1   A     I was the general manager of a company in Mexico City.

    2   Q     Did you stop working in your legitimate job once you

    3   began helping Mayo?

    4   A     That's right.

    5   Q     Briefly, can you tell us why you had to leave your

    6   legitimate job?

    7   A     Well, at that time my brother Mayo was figuring as an

    8   important public figure as a drug trafficker and the owner and

    9   the partners in the company saw the news, in the news.           They

   10   asked me what relationship did I have to that person.           I said

   11   he's my brother and they said they no longer wanted to depend

   12   on my accounting services because they didn't trust me.

   13   Q     Was there of a period in your past when you used drugs or

   14   alcohol other than on a social basis?

   15   A     Yes.

   16   Q     Directing your attention to 2006, how often did you use

   17   alcohol during that period?

   18   A     At least every weekend for a period of around six months

   19   more or less.

   20   Q     Did that affect your ability to understand what was going

   21   on around you?

   22   A     Not definitively, but, yes, I did lose time when I was

   23   consuming alcohol.

   24   Q     When was the last time you used drugs or alcohol?

   25   A     In the year 2008, before my arrest.



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                       Zambada Garcia - direct - Parlovecchio                813


    1   Q     Have you used false names on documents to hide your

    2   identity?

    3   A     Yes.

    4   Q     On what documents have you used false names?

    5   A     Well, I used fake names for voter ID cards, driver's

    6   licenses and I obtained a visa to enter into the United States

    7   with a fake name.

    8   Q     Have you ever possessed a weapon?

    9   A     Yes, of course.

   10   Q     What types of weapons?

   11   A     I normally used a .380 pistol.

   12   Q     Did you ever report to the Mexican government the money

   13   you earned from drug trafficking?

   14   A     No.

   15   Q     Did you ever participate in any murder conspiracies?

   16   A     Yes.

   17   Q     Did you ever personally murder anyone?

   18   A     No.

   19   Q     On the occasions when you participated in murder

   20   conspiracies what was your personal role?

   21   A     Sometimes to locate the people, the targets, and pass the

   22   messages to the Sicarios so they could complete their order.

   23   Q     Approximately how many times did you do that?

   24   A     I did it three times.

   25   Q     Who generally were the individuals who were the targets



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    1   of these murder conspiracies?

    2   A      Police agents, commanders who were at the service of

    3   Arturo Beltran.

    4   Q      Did you always find out whether the murder was done?

    5   A      Normally.

    6   Q      You testified yesterday that you were arrested for your

    7   criminal activity on October 20, 2008?

    8   A      That's right.

    9   Q      Where were you arrested?

   10   A      In Mexico City.

   11   Q      I want to show an exhibit to the witness, please.

   12               I'm showing you what's marked for identification as

   13   Government's Exhibit 99.      What is this?

   14   A      That's me.

   15   Q      I won't ask you how you recognize it.

   16               MS. PARLOVECCHIO:     The government moves to admit

   17   Government's Exhibit 99.

   18               THE COURT:     Received.

   19               (So marked.)

   20   Q      Publish it, please.    And, sir, when was this photograph

   21   taken?

   22   A      When I was arrested on October 20, 2008.

   23   Q      Did the United States eventually bring charges against

   24   you?

   25   A      That's right.



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                       Zambada Garcia - direct - Parlovecchio                815


    1   Q      And just taking a step back, after you were arrested in

    2   Mexico, what Mexican criminal charges were brought against

    3   you?

    4   A      Organized crime, to be harboring weapons and possessing

    5   cartridges.

    6   Q      What types of cartridges?

    7   A      For firearms.

    8   Q      Now, after your arrest did the United States eventually

    9   bring charges against you?

   10   A      That's right.

   11   Q      What were the United States charges against you?

   12   A      Importation, distribution and sale of cocaine, and to

   13   belong to a continuing criminal enterprise.

   14   Q      Were the charges against you in the United States in more

   15   than one jurisdiction?

   16   A      Yes.

   17   Q      What were the jurisdictions?

   18   A      One is in Washington D.C. and the other one is up here in

   19   New York, in Brooklyn county.

   20   Q      And what charges in particular were brought against you

   21   in Brooklyn?

   22   A      Life.

   23   Q      What was the charge, sir?

   24   A      The charges here in Brooklyn it's continuing criminal

   25   enterprise.



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                       Zambada Garcia - direct - Parlovecchio                816


    1   Q     Did there come a time when you came to the United States

    2   to face the U.S. charges?

    3   A     Yes.

    4   Q     By what legal process did you come to the United States?

    5   A     Through an extradition process.

    6   Q     After you came to the United States, did you have

    7   meetings with the prosecutors in your case?

    8   A     That's right.

    9   Q     Generally, what did you speak about during those

   10   meetings?

   11   A     Well, the first meeting I told them the whole story of my

   12   entire life.    And the second meeting I continued on until I

   13   finally got to the point where I was speaking about when I

   14   became involved in drug trafficking.

   15   Q     Did you tell the prosecutors in your case who got you

   16   involved in drug trafficking?

   17   A     Yes.

   18   Q     Who did you tell them?

   19   A     I got involved initially with my brother Mayo, Mayo

   20   Zambada Garcia.

   21   Q     What did you do to resolve your U.S. charges?

   22   A     I pled guilty.

   23   Q     What crimes did you plead guilty to?

   24   A     To the crime of importing, distributing and selling

   25   cocaine and belonging to a continuing criminal enterprise.



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                       Zambada Garcia - direct - Parlovecchio                817


    1   Q     Did you have any codefendants in your case in Brooklyn?

    2   A     Yes.

    3   Q     Who were they?

    4   A     One of them is Joaquin Guzman Loera, El Chapo.          Another

    5   one is Ismael Zambada Garcia El Mayo.        Another one is Arturo

    6   Beltran, Leyva, Hector Beltran Leyva and Ignacio Coronel

    7   Nacho.

    8   Q     Were they also charged with continuing criminal

    9   enterprise?

   10   A     That is right.

   11   Q     What sentence are you facing based upon your guilty plea?

   12   A     Life.

   13   Q     And what about in your -- is there another sentence you

   14   can face upon your guilty plea?

   15   A     Yes.

   16   Q     What is that?

   17   A     Ten years to life.

   18   Q     Under your plea agreement, were you obligated to pay any

   19   financial penalty?

   20   A     That's right.

   21   Q     What was the financial penalty?

   22   A     Three million dollars.

   23   Q     Have you paid that?

   24   A     That's right.

   25   Q     Would you also potentially have to pay a fine?



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                       Zambada Garcia - direct - Parlovecchio                818


    1   A       That's correct.

    2   Q       How much could that fine be?

    3   A       Two million dollars.

    4   Q       As part of your guilty plea, did you sign any agreement

    5   with the government?

    6   A       That's right.

    7   Q       What is that agreement called?

    8   A       Cooperation agreement.

    9   Q       I'm going to show you what's been marked for

   10   identification as Government's Exhibit 3500-JRZG-2.           What is

   11   this?

   12   A       It's my cooperation agreement.

   13   Q       How do you recognize it?

   14   A       Because I signed it and my name is on here.

   15   Q       I'm going to direct your attention to the last page of

   16   Government's Exhibit 3500-JRZG-2.        Directing your attention

   17   here to the left-hand side of the page, is that your

   18   signature?

   19   A       Yes, right here.

   20                MS. PARLOVECCHIO:     The government moves to admit

   21   Government's Exhibit 3500-JRZG-2.

   22                MR. PURPURA:      No objection, your Honor.

   23                THE COURT:    Received.

   24                (So marked.)

   25   Q       Is this your cooperation agreement that you see on the



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                       Zambada Garcia - direct - Parlovecchio                819


    1   screen?

    2   A     That's right.

    3   Q     Did anyone translate this cooperation agreement for you

    4   into Spanish before you signed it?

    5   A     That's right.

    6   Q     We'll just show the jury the last page with your

    7   signature.    You can show us again where your signature is .

    8                Now, as part of this agreement, did you make any

    9   promises?

   10   A     That's right.

   11   Q     What did you promise to do?

   12   A     To cooperate by telling truth about anything that was

   13   required to clear up my case, and about other drug trafficking

   14   situations of which I had knowledge.

   15   Q     Did the government promise to do anything for you if you

   16   abided by the terms of your cooperation agreement?

   17   A     Yes.

   18   Q     What promises did the government make if you abided by

   19   the terms of your cooperation agreement?

   20   A     They promised to issue a letter of recommendation to the

   21   judge explaining everything that I had done for the

   22   government, explaining anything that they asked me or

   23   requested from me were the truth.        The good things and the bad

   24   things in my case.

   25   Q     Is there a name for this letter?



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                       Zambada Garcia - direct - Parlovecchio                820


    1   A     Yes.

    2   Q     What is it called?

    3   A     5k1.

    4   Q     What is this 5k1 letter supposed to do for you?

    5   A     Well, when I go to sentencing with this letter the judge

    6   can take it into consideration when deciding my sentence.

    7   Q     And just to be clear, who will decide your sentence?

    8   A     The judge.

    9   Q     Will the government recommend any particular sentence?

   10   A     No.

   11   Q     Is the judge obligated to give you a more lenient

   12   sentence as a result of receiving this 5k1 letter?

   13   A     No.

   14   Q     Does the filing of this 5k1 letter depend on the outcome

   15   of this case?

   16   A     No.

   17   Q     Did the government agree to provide you with any

   18   additional benefits as a result of your cooperation?

   19   A     Yes.

   20   Q     What additional benefits?

   21   A     Well, they have helped me bring my family from Mexico to

   22   here to the United States for their safety.

   23   Q     And what is the purpose of having your family brought to

   24   the United States?

   25   A     So that they won't suffer any attempts on their life.



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                       Zambada Garcia - direct - Parlovecchio                 821


    1   Q     Have you ever testified in court before today?

    2   A     No.

    3   Q     Before coming do court today, did you meet with the

    4   government to prepare to testify?

    5   A     Yes.

    6   Q     I'm now going to direct your attention to 1987.          What

    7   were the jobs you were doing for your brother in his drug

    8   trafficking business at that time?

    9   A     I was monitoring the collections from clients for cocaine

   10   sales here in the United States for him.

   11   Q     Where was your brother Mayo operating his drug business

   12   at that time in 1987?

   13   A     In Siana, Baja, California.

   14   Q     Was your brother Mayo partners with the defendant at this

   15   point in time?

   16   A     No.

   17   Q     What if any relationship did your brother Mayo have with

   18   the defendant in 1987?

   19   A     They were acquaintances.

   20   Q     Did there come a point later in time when you learned who

   21   the defendant worked with in 1987?

   22   A     Yes.

   23   Q     How did you learn about who the defendant was working

   24   with in 1987?

   25   A     Well, there came a time when Juan Jose Esparragoza el



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                       Zambada Garcia - direct - Parlovecchio                822


    1   Azul, and he told me about the whole history of what had been

    2   going on at that time and who the defendant had been working

    3   with at that time.

    4   Q     When did that conversation take place?

    5   A     It was around 1994.

    6   Q     What was the purpose of this conversation with el Azul?

    7   A     Well, he wanted me to be able to trust the people who

    8   worked with Joaquin Guzman Loera.        And he always asked me to

    9   tell my brother the same things, that we should trust him,

   10   that we were the same group, that we had already worked

   11   together.

   12   Q     What did el Azul tell you about who the defendant was

   13   working with in the late 1980s?

   14   A     Well, he told me that directly working for him was Hector

   15   Guero Palma, Arturo Beltran Leyva, Hector Beltran Leyva,

   16   Alfredo Beltran.

   17   Q     Did Azul say whether he was working with the defendant

   18   during that period?

   19   A     Yes, and him.    And him, a source.      That's why he was

   20   saying that.    He was saying we work together.        We're the same

   21   things.

   22   Q     Now, turning back to you and your brother Mayo, were you

   23   and your brother Mayo working with any other drug trafficking

   24   organizations in the late 1980s?

   25   A     With the Arellano Felix brothers.



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                       Zambada Garcia - direct - Parlovecchio                 823


    1   Q     Over what period of time did you and your brother Mayo

    2   work with the Arellano Felix brothers?

    3   A     Approximately from '87 to '90.

    4   Q     Do you know whether the Arellano Felix brothers were at

    5   war with anyone during that period?

    6   A     Yes.   They started a war with Joaquin Guzman Loera El

    7   Chapo.

    8   Q     I'm now going to direct your attention to 1991.          What

    9   happened between your brother and the Arellano Felix brothers

   10   at that time?

   11   A     My brother broke relations with the Arellano Felix

   12   brothers and he went on to work with Amado Carrillo Fuentes.

   13   He went with them to work with Amado.

   14   Q     I'm showing you what's in evidence as Government's

   15   Exhibit 9.    Is that Amado Carrillo Fuentes?

   16   A     Yes.

   17   Q     Did Amado Carrillo Fuentes have any partners when your

   18   brother and joined him?

   19   A     That's right.

   20   Q     How do you know about that?

   21   A     Well, because I was part of the organization and also

   22   Juan Jose Esparragoza el Azul also told me that he was part of

   23   the that partner.

   24   Q     Just to be clear, who was Amado Fuentes' partner when you

   25   joined him in 1991?



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                       Zambada Garcia - direct - Parlovecchio                824


    1   A     Juan Jose Esparragoza.

    2   Q     Is that him in the picture there?

    3   A     That's him.

    4   Q     In 1991, what was the Amado Fuentes' relationship -- I'm

    5   sorry.   Let me step back.      Were you and your brother therefore

    6   working with el Azul in 1991?

    7   A     Yes.

    8   Q     In 1991 what was Amado Fuentes' relationship with the

    9   defendant?

   10   A     They were friends.     And El Chapo belonged to Azul's group

   11   for working.

   12   Q     So what was your understanding of -- given the

   13   relationship with Amado and Azul, what was your understanding

   14   of the relationship between Amado and the defendant?

   15   A     Well, we were one group, one working group.

   16                (Continued on next page.)

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               Anthony M. Mancuso, CSR         Official Court Reporter
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                       Zambada Garcia - direct - Parlovecchio                825


    1   BY MS. PARLOVECCHIO:      (Continuing)

    2   Q     After you and your brother Mayo broke away from the

    3   Arellano Felix brothers, did you stay in Tijuana?

    4   A     No.

    5   Q     Where did you live?

    6   A     I went to live in Mexico City.

    7   Q     Where did your brother go?

    8   A     My brother went to Sinaloa.

    9   Q     What was your brother Mayo's relationship with the

   10   Arellano Felixes after he joined Amado and Azul?

   11   A     Can you repeat the question?

   12   Q     Sure.    What was your brother's relationship with the

   13   Arellano Felixes after he joined Amado and Azul?

   14   A     Enemies.    A war was opened against my brother on the part

   15   of the Arellano Felixes.

   16   Q     Who was on your brother Mayo's side in the war with the

   17   Arellano Felixes at that point?

   18   A     Joaquin El Chapo Guzman, Azul, Amado Carrillo.

   19   Q     Did you have an understanding about why your brother and

   20   the defendant were fighting against the Arellano Felixes at

   21   the time?

   22   A     Yes.    The Arellano Felixes thought they were the kings of

   23   the, the owners of Tijuana and they didn't want anyone to

   24   cross drugs on their border without their authorization.

   25   Q     And who was crossing drugs on their border without their



                       CMH      OCR      RMR       CRR      FCRR
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    1   authorization at that time?

    2   A     El Chapo.      That's why the war started.

    3   Q     What happened as a result of this war with the Arellano

    4   Felixes?

    5   A     Well, there were a lot of people killed.

    6   Q     Did anyone try to kill you during the war with the

    7   Arellano Felixes?

    8   A     That's right.

    9   Q     Approximately when did that happen?

   10   A     More or less in '94, maybe '95.

   11   Q     Can you please tell the jury what happened on that

   12   occasion?

   13   A     Well, I was living in Mexico City and one day when I was

   14   buying something at a store, some Sicarios intercepted me and

   15   they shot at me the distance from here to the wall and they

   16   grazed my head.      I fell on the floor.     Fortunately, I wasn't

   17   left unconscious and I jumped back immediately and with my

   18   pistol in my hand, I started fighting against them.           They were

   19   surprised because they thought I was dead.         They covered

   20   themselves.    I covered myself.       We were exchanging shots.

   21               I managed to wound one of those Sicarios and he was

   22   asking for help from one of his colleagues because he was

   23   lying, yelling, Get me out, get me out because he's going to

   24   kill me.    And I continued in exchanging shots with the one who

   25   was left there but the time point came when he ran away and,



                       CMH       OCR     RMR       CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                827


    1   fortunately, I saved my life.

    2   Q     Now, did you suffer any injury as a result of this

    3   confrontation?

    4   A     Yes.    I'm alive because the bullet did not penetrate my

    5   skull but I had like a huge, like a little a ditch type thing

    6   here on my, with a big opening, full of blood here on this

    7   side of my head.

    8   Q     Did you learn who these gunmen worked for?

    9   A     Yes.    They worked for Ramon Arellano and Benjamin

   10   Arellano Felix.

   11   Q     Now, during this period, going back to the early 1990s,

   12   what was your brother's relationship with the defendant?

   13   A     Well, my brother and the defendant now had bonds of

   14   friendship.    They were joined in that war against the Arellano

   15   Felixes.

   16   Q     And when you say that they were joined together in the

   17   war against the Arellano Felixes, what did that mean at that

   18   point?

   19   A     Well, now there was a union that the Sicarios from both

   20   groups, both bands would fight together and to be able to do

   21   investigation to find the traces of the people that belonged

   22   to the Arellano Felixes to kill them.

   23   Q     Was anyone -- were any of your close family members

   24   killed during the war with the Arellano Felixes?

   25   A     Yes.



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                       Zambada Garcia - direct - Parlovecchio                 828


    1   Q       Which family member?

    2   A       My brother Vicente Zambada Garcia.

    3   Q       Tell us about that briefly.

    4   A       Well, my brother lived in Cancun and he was a man who

    5   wasn't involved in any kind of strange business.           He lived

    6   well.    He didn't use weapons.     He had a stable social life and

    7   the Arellano Felixes went and they killed him at the door of

    8   his house.

    9   Q       During this period of the early 1990s, are you aware of

   10   whether your brother Mayo and the defendant invested in any

   11   drug shipments together?

   12   A       Well, Azul told me that through him, Chapo and the

   13   Beltran Leyvas invested together with my brother and Amado.

   14   Q       What types of shipments were these?

   15   A       Well, in majority, boats and fast boats.

   16   Q       With cocaine?

   17   A       Yes, with cocaine imported from Colombia.

   18   Q       What, if any, details did Azul tell you about Chapo and

   19   your brother Mayo investing in drug shipments together during

   20   the 1990s?

   21   A       In general terms, he said we were the same team, same

   22   group, we were together, that we worked together joined and

   23   that I should trust it and I should tell the same thing to my

   24   brother, that everything was fine, that everything was in

   25   order.



                       CMH      OCR      RMR       CRR      FCRR
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    1   Q     Now, you testified that the Beltran Leyvas were part of

    2   this team with your brother Mayo and the defendant, El Azul

    3   and yourself.     Who are the Beltran Leyvas that you're

    4   testifying to?

    5   A     Well, mainly Arturo Beltran, Hector Beltran and Alfredo

    6   Beltran.

    7                 MS. PARLOVECCHIO:      I'd like to show some exhibits to

    8   the witness, please.

    9   Q     I'm showing you Government's Exhibit 5 and Government's

   10   Exhibit 31.

   11   A     Alfredo Beltran.

   12   Q     And Government's Exhibit 5?

   13   A     Hector Beltran.

   14   Q     And how do you recognize them?

   15   A     Well, I know them.         We're from the same area.      I spent

   16   time with them.

   17                 MS. PARLOVECCHIO:      The government moves to admit

   18   Government's Exhibit 5 and 31.

   19                 MR. PURPURA:       No objection.

   20                 THE COURT:    Received.

   21                 (So marked.)

   22   Q     Just showing the jury Exhibit 5.           Who is that?

   23   A     Hector Beltran.

   24   Q     Did he have any nicknames?

   25   A     El H.



                        CMH        OCR       RMR     CRR      FCRR
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                       Zambada Garcia - direct - Parlovecchio                830


    1   Q     Is that "H"?

    2   A     Yes, the letter "H."

    3   Q     "H"?   Okay.   And Government's Exhibit 31, who is that?

    4   A     Alfredo, Alfredo Beltran.

    5   Q     Did he have any nicknames?

    6   A     Mochomo.

    7   Q     Now, when Azul explained to you that he had been working

    8   together with Chapo, your brother Mayo, Amado and the Beltran

    9   Leyvas, what did you understand this to mean?

   10   A     Well, that we were a new organization.

   11   Q     During the same period of time in the early 1990s, who

   12   was Amado Carrillo's top lieutenant?

   13   A     Vicente Carrillo Leyva.

   14   Q     Vicente Carrillo, what is his second name?

   15   A     Leyva -- excuse me.     Fuentes.    Excuse me.    I made a

   16   mistake.

   17   Q     Now, I'm going to show you -- actually, did you know

   18   Vicente Carrillo Fuentes?

   19   A     Yes, of course.

   20   Q     I'm going to show you what's marked for identification as

   21   Government's Exhibit 10.      Who is this?

   22   A     That's Vicente Carrillo Fuentes, Amado's brother.

   23   Q     How do you recognize him as that?

   24   A     I know him well.     I spent a lot of time with him.

   25                MS. PARLOVECCHIO:    The government moves to admit



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    1   Government's Exhibit 10.

    2                THE COURT:    Received without objection.

    3                MR. PURPURA:       I'm sorry.   No objection.   I

    4   apologize.

    5                THE COURT:    That's okay.

    6                (So marked.)

    7   Q       Is this Vicente Carrillo Fuentes?

    8   A       That's right.

    9                MS. PARLOVECCHIO:       And now, Your Honor, I'm just

   10   going to move over here to use this exhibit.          Excuse me while

   11   I relocate.

   12   Q       Now, Mr. Zambada, using Government's Exhibit 1B, 2A, 4,

   13   5B, 31, 6, 7, 9 and 78 which I actually think I forgot back

   14   there, can you explain to the jury how the group you've just

   15   described was organized in or about 1992?

   16   A       Yes, of course.

   17   Q       Now, you testified that Amado Carrillo and El Azul were

   18   partners at that time?

   19   A       That's right.

   20   Q       And they were the leaders of the organization at that

   21   time?

   22   A       That's right.

   23   Q       I'm sorry.   We have Government Exhibit 6.

   24                And who are Azul's and Amado's partners at the time?

   25   A       Amado was with my brother, Ismael Zambada Garcia, and



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    1   Amado with my brother and Azul with Chapo.

    2   Q     Government's Exhibit 6 is Azul?

    3   A     Yes.

    4   Q     And where does he go here?

    5   A     Right next to Amado.

    6   Q     And how about you, where would you go in this

    7   organization?

    8   A     Under my brother.

    9   Q     And Arturo Beltran Leyva?

   10   A     Under Chapo and Azul.

   11   Q     And Hector Beltran Leyva?

   12   A     The side beside Arturo.

   13   Q     And Vicente Carrillo?

   14   A     Under Amado.

   15   Q     And how about Alfredo Beltran Leyva?

   16   A     Under his siblings, his brothers.

   17   Q     Can you see it?

   18   A     Yes, I can see it.

   19   Q     How about Nacho Coronel, where was Nacho Coronel in this

   20   organization in 1992?

   21   A     He would be beside Chapo.

   22   Q     And what about German, the individual you testified was

   23   running Juarez at the time?

   24   A     Under me.

   25   Q     Now, by what name was this group known in 1992?



                       CMH      OCR      RMR       CRR      FCRR
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    1   A     Well, this organization at that time started being known

    2   as the Federation.

    3   Q     And who started calling it the Federation?

    4   A     Well, the government.

    5   Q     Now, overtime, did the name of this group change?

    6   A     That's right.

    7   Q     And what did it change to?

    8   A     To the Sinaloa Cartel.

    9   Q     Now, directing your attention to 1992, the same time

   10   period, were your brother Mayo and the defendant still

   11   fighting together against the Arellano Felixes?

   12   A     That's right.

   13   Q     Do you know about an incident that happened at a place

   14   called Cristine's?

   15   A     That's right.

   16   Q     How do you know about that?

   17   A     Well, Cristine's is a nightclub that was trending at that

   18   time in Puerto Vallarta.        My brother Mayo told me --

   19               MR. PURPURA:       Objection.   This is nonresponsive to

   20   the question.     How do you, the basis of the information,

   21   rather than the information itself.

   22               MS. PARLOVECCHIO:       Your Honor, he was just about to

   23   answer that question.

   24               THE COURT:    I will strike the answer if he doesn't

   25   answer it but I think he is going to answer it.



                       CMH       OCR       RMR      CRR     FCRR
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    1               Let's proceed.    You may answer the question.

    2               THE INTERPRETER:     Can you ask it again?

    3               MS. PARLOVECCHIO:     Sure.

    4   Q     How did you know about what happened at Cristine's?

    5   A     My brother Mayo told me about it since before it

    6   happened, that Chapo was about to kill Ramon in this place

    7   because he had information that Ramon was, would frequently

    8   come to this nightclub in Puerto Vallarta.

    9   Q     And what was the purpose of Mayo telling you about this

   10   incident at Cristine's right before it happened?

   11   A     It was a normal topic between us at that time because we

   12   were at war with the Arellano Felixes.

   13   Q     You mentioned Ramon Arellano Felix.        Who is Ramon

   14   Arellano Felix?

   15   A     He was the, the boss of the Sicarios for the Tijuana

   16   cartel.

   17   Q     What did Mayo tell you about what was going to happen at

   18   Cristine's?

   19   A     He told me that it was almost a given that there was

   20   going to be an attack on Ramon's life and that Chapo was going

   21   to kill him.

   22   Q     Did you have an understanding why Chapo wanted to kill

   23   Ramon Arellano?

   24   A     Well, he had a war with, with Chapo even before my

   25   brother Mayo did.     We went into the war when they became



                       CMH      OCR      RMR       CRR      FCRR
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    1   united.

    2   Q     And what exactly did Mayo tell you about what was going

    3   to happen at Cristine's?

    4   A     That Chapo was going to kill Ramon.

    5   Q     Did you find out if an attack on Cristine's happened?

    6   A     Yes.

    7   Q     How did you find out?

    8   A     Well, the attack was made on Ramon at the nightclub.           My

    9   brother Mayo told me my Compa Chapo went there and tried to

   10   kill him but he escaped but they killed several gunmen and

   11   some other people were dead too.

   12   Q     Did you have an understanding why Mayo told you about

   13   this event at Cristine's?

   14   A     He was bemoaning the fact that Ramon hadn't been killed

   15   because he was a very dangerous enemy.

   16   Q     And just to be clear, was anyone killed in Cristine's

   17   during this attack?

   18   A     Yes.    Several of Ramon's gunmen were killed and several

   19   people who were there as customers.

   20   Q     Did the war with the Arellano Felixes affect your drug

   21   business?

   22   A     Yes, certainly.

   23   Q     How did it affect your business?

   24   A     Well, first of all, we couldn't use the border at

   25   Tijuana.     And it was a very violent war.      We had to all watch



                       CMH      OCR      RMR       CRR      FCRR
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    1   out for ourselves because there were many dead people.

    2   Q     Mr. Zambada, what is a peace meeting?

    3   A     Well, it's a meeting among leaders in drug trafficking to

    4   reach a peace agreement when there is a war.

    5                THE COURT:    Ms. Parlovecchio, when you reach a

    6   convenient time.

    7                MS. PARLOVECCHIO:      Yes, Your Honor.

    8                THE COURT:    Is it?

    9                MS. PARLOVECCHIO:      Actually, just a few more

   10   questions.    I'm almost at the end of the topic.

   11                THE COURT:    Okay.

   12   Q     I'm going to direct your attention to the end of 1993.

   13   What, if anything, did your brother Mayo do to stop the war

   14   with the Arellano Felixes around that time?

   15   A     A peace meeting was established from within the Sinaloa

   16   group and the Arellano Felixes.

   17   Q     Who attended this peace meeting on behalf of the Sinaloa

   18   Cartel?

   19   A     Amado Carrillo Fuentes went and with him went my nephew,

   20   Vicente Zambada Niebla.

   21   Q     I'm going to show you what's marked for identification as

   22   Government's Exhibit 101.       Who is this?

   23   A     That's my nephew, Vicente Zambada Niebla.

   24   Q     How do you recognize him?

   25   A     He grew up with me.



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    1                MS. PARLOVECCHIO:      The government moves to admit

    2   Government Exhibit 101.

    3                MR. PURPURA:       No objection.

    4                THE COURT:    Received.

    5                (So marked.)

    6                MS. PARLOVECCHIO:      Publish?    Thank you.

    7   Q     And just to be clear, who was Amado and your nephew

    8   representing in this peace meeting with the Arellano Felixes?

    9   A     To the Sinaloa group which was called the Federation at

   10   that time.

   11   Q     And who did that include?

   12   A     It included Chapo, my brother Mayo, Azul, Nacho Coronel,

   13   myself.

   14   Q     Did anyone tell you what happened at this peace meeting

   15   between Arellano Felixes, Amado Carrillo and your nephew

   16   Vicente?

   17   A     Yes.

   18   Q     Who told you?

   19   A     My nephew Vicente and Amado Carrillo.

   20   Q     When did they tell you what happened?

   21   A     When they came back from Tijuana.

   22   Q     What did they tell you about what happened at this peace

   23   meeting?

   24   A     That the Arellano Felixes did not want to accept the

   25   peace treaty and that they were almost killed.



                       CMH        OCR       RMR     CRR      FCRR
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    1   Q     Who was almost killed?

    2   A     Amado and my nephew Vicente.

    3   Q     Now, what happened as a result of this failed peace

    4   meeting?

    5   A     Well, Amado said that now, for real, everyone was going

    6   to fight with the Arellano Felixes and the whole organization

    7   was going to, and a very powerful war started.

    8               (Continued on next page.)

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    1               MS. PARLOVECCHIO:      Your Honor, I think this is a

    2   good time to break.

    3               THE COURT:    Okay.    We will break until 12:45, 12:50.

    4               Ladies and gentlemen, your lunch is there.         Please

    5   don't talk about the case.        Talk about anything else.     We'll

    6   see you at 1:25:0 -- sorry.        1:50, not 12:50.

    7               (Jury exits.)

    8               THE COURT:    Okay.    Recess until 1:50.

    9               (Luncheon recess.)

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                       CMH       OCR      RMR      CRR      FCRR
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                     J. Zambada Garcia - direct - Parlovecchio                840


    1                             AFTERNOON SESSION

    2                                   1:50 p.m.

    3                THE COURT:   Let's have the jury, please.       Maybe try

    4   to pick up a faster pace, cut some things out.          Think about

    5   it.   I'm not ordering you, I'm suggesting.

    6                (Jury enters.)

    7                THE COURT:   Everyone be seated.       We'll continue with

    8   direct examination.

    9                MS. PARLOVECCHIO:    Thank you, your Honor.

   10   JESUS ZAMBADA GARCIA,

   11         called as a witness, having been previously duly

   12         sworn, was examined and testified as follows:

   13   DIRECT EXAMINATION

   14   BY MS. PARLOVECCHIO (Continued):

   15   Q     Mr. Zambada, during the break we placed some names on the

   16   board here, which includes 2B, 9, 6, 1A, 7, 99, 10, 4, 5, 78,

   17   and 31.

   18                Can you see the names?

   19   A     Yes.

   20   Q     Do these look correct to you          , the names you testified

   21   to?

   22   A     Yes, certainly.

   23   Q     And during this period of time in 1992, were there other

   24   cartels, other than the Sinaloa cartel?

   25   A     Yes, of course.



                                  LAM      OCR        RPR
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                     J. Zambada Garcia - direct - Parlovecchio               841


    1   Q     And during your entire time with the Sinaloa cartel from

    2   1987 to 2008, what were some of the cartels you were aware of

    3   in Mexico.

    4   A     Arellano Felix cartel; the Tamaulipas cartel, the

    5   Federation, as it was called at that time; then there was the

    6   Sinaloa cartel; the Zetas; the Gulf cartel, to name a few.

    7   Q     Now, I'm going to direct your attention to approximately

    8   the middle of 1993.

    9                Are you aware of something happening to the

   10   Defendant at this time?

   11   A     Yes, of course.

   12   Q     What happened?

   13   A     The Arellano Felix brothers wanted to kill him at the

   14   airport in Guadalajara.

   15   Q     Are you aware of the events that led up to this incident

   16   in Guadalajara?

   17   A     Yes.

   18   Q     How did you learn about it?

   19   A     Juan Jose Esparragoza, Azul, told me about it.

   20   Q     When did you have this conversation with Azul?

   21   A     Some days after the situation had gone on.

   22   Q     What did El Azul tell you about the incident at

   23   Guadalajara airport?

   24   A     Well, he told me that the Arellano forces wanted to kill

   25   Chapo, they were waiting for him at the airport, but that,



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               842


    1   luckily, he got there before the sicarios and Ramon got there.

    2               And afterwards, Cardinal Posados arrived there and

    3   he was in a car that was the same as the one that Chapo had,

    4   and Ramon and the sicarios killed the cardinal thinking that

    5   it was Chapo.

    6   Q     Do you know what happened to the Defendant after this

    7   incident at the airport?

    8   A     Well, he started to be a very wanted man because the

    9   authorities were saying that it was him who had killed the

   10   cardinal, that Chapo was.       Chapo escaped to Guatemala, and the

   11   military captured him in Guatemala.

   12   Q     What happened after the military captured the Defendant

   13   in Guatemala?

   14               MR. PURPURA:    Just --

   15               THE COURT:    Stop, stop.

   16               You need a foundation for this.

   17               MR. PURPURA:    Thank you.

   18   Q     Did you learn what happened to the Defendant after he was

   19   captured by the military in Guatemala?

   20   A     He was extradited to Mexico.

   21   Q     How did you learn about that?

   22   A     Well, the same way we were all, you know, very aware and

   23   trying to find out what happened.        We were all friends.

   24               So, two or three days later he was extradited.

   25   Q     Who is "we"?



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               843


    1   A     Well, like, it was Juan Jose Esparragoza Azul, Amado

    2   Carillo, my brother, myself.

    3   Q     Are you aware of whether the Defendant continued

    4   trafficking drugs after he was sent to jail?

    5   A     Well, Arturo Guzman, his brother, continued to work

    6   outside the organization in his place.

    7   Q     In whose place?

    8   A     In Chapo's place, for himself and for Chapo.

    9   Q     Who is Arturo Guzman?

   10   A     Arturo Guzman was Chapo's brother.

   11   Q     Did you know Arturo Guzman?

   12   A     Yes, of course.

   13   Q     Did Arturo Guzman have any nicknames?

   14   A     Yes, they called him El Pollito.

   15   Q     When did you first meet Arturo Guzman?

   16   A     I met him in the year 1997 in Acapulco.

   17   Q     How did you come to meet him at that time?

   18   A     Well, I asked Juan Jose Esparragoza Azul to get me an

   19   appointment for a meeting with Arturo Beltran Leyva.

   20   Q     Did he set up this meeting, Azul?

   21   A     Yes, he did.

   22   Q     What was the purpose of this meeting that you wanted set

   23   up with Arturo Beltran Leyva?

   24   A     My brother Mario had asked me to meet with him to ask him

   25   for support in order to receive a ship with cocaine on the



                                 LAM       OCR      RPR
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                      J. Zambada Garcia - direct - Parlovecchio                844


    1   coastline of Guerrero.

    2   Q     Who came to this meeting?

    3                 Did you actually attend that meeting with the

    4   Beltran Leyvas?

    5   A     Yes, that's right.

    6   Q     Who came to this meeting?

    7   A     Well, the meeting was with Hector.          Arturo sent Hector

    8   Beltran.

    9   Q     Did anyone else go to this meeting?

   10   A     I went with my wife and Hector also brought his wife.

   11   So, it was the two of us sitting together talking.

   12   Q     And did there come a point at which you meant Arturo

   13   Guzman?

   14   A     Exactly.

   15   Q     When?

   16   A     It was some days later, approximately maybe a month

   17   later.

   18   Q     And are you aware of what Arturo Guzman was doing for the

   19   Defendant when you met him?

   20   A     He went working bringing ships of cocaine from Colombia

   21   with the Beltran Leyva's brothers; Arturo, Alfredo, and

   22   Hector.

   23   Q     To be clear, there's an Arturo Beltran Leyva and an

   24   Arturo Guzman involved in these shipments?

   25   A     Exactly.



                                 LAM       OCR      RPR
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                        J. Zambada Garcia - direct - Parlovecchio            845


    1   Q       Now, what did you know about the Beltran Leyvas' drug

    2   trafficking capacity in Guerrero\during this period?

    3   A       Well, once I established a relationship with him, they

    4   asked me to have my brother Mario go and meet with them.

    5   Q       Established a relationship with whom?

    6   A       With Arturo Guzman, Arturo Beltran, and Hector Beltran.

    7   Q       And did your brother Mayo plan cocaine shipments with

    8   them?

    9   A       Exactly.

   10   Q       What were the details of the shipment that your brother

   11   planned with Arturo Guzman and the Beltran Leyvas in Guerrero?

   12   A       It was a ship that was coming with six or seven tons.          It

   13   was going to arrive near the coastline of Acapulco.

   14   Q       Did you and your brother Mayo do any other cocaine

   15   shipments with Arturo Guzman and the Beltran Leyvas after

   16   that?

   17   A       Yes.

   18   Q       When?

   19   A       In 1998, Arturo Beltran and Arturo Guzman asked for

   20   support from my brother to receive cocaine shipments in

   21   Chiapas.

   22   Q       And just using Government Exhibit 502, can you remind the

   23   jury where Chiapas is?

   24                   (Exhibit published to the jury.)

   25   A       This area precisely here, that's Chiapas.       And it's the



                                   LAM     OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               846


    1   coastline here, the water -- this is Guatemala here, and over

    2   here Chiapas.

    3   Q     What was your role in these Chiapas shipments with Arturo

    4   Guzman, Arturo Beltran Leyva, and your brother Mayo?

    5   A     My brother asked me to support him with the logistics to

    6   receive these loads of cocaine that were going to arrive for

    7   Arturo Beltran and Arturo Guzman.

    8   Q     How did these Chiapas shipments work?

    9   A     They would arrive in fast boats.

   10   Q     How large were the shipments?

   11   A     Three tons.

   12   Q     And who would receive these shipments?

   13   A     Benny and Marquitos.

   14   Q     How often did Benny and Marquitos receive these shipments

   15   of cocaine on fast boats?

   16   A     Between three and four times a year.        And on occasion, it

   17   would come double; two boats, fast boats.

   18   Q     Over what period of time did you do these Chiapas

   19   shipments?

   20   A     From 1998 to 2003.

   21   Q     Now, you mentioned that someone named Benny received

   22   these cocaine shipments.

   23                Who is Benny?

   24   A     Benny is also a leader of the Sinaloa cartel who works

   25   receiving maritime shipments of cocaine.



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               847


    1   Q     I'm showing you what's marked for identification

    2   Government's Exhibit 44.

    3               Who is see this?

    4   A     That's Benny.

    5   Q     How do you recognize him?

    6   A     Well, I spent a lot of time with him.

    7               MS. PARLOVECCHIO:     The Government moves to admit

    8   Government Exhibit 44.

    9               MR. PURPURA:    No objection.

   10               THE COURT:    Received.

   11               (Government Exhibit 44 so marked.)

   12               MS. PARLOVECCHIO:     Publish?

   13               (Exhibit published to the jury.)

   14   Q     Is this Benny?

   15   A     Correct.

   16   Q     And he received these cocaine shipments with Marquitos?

   17   A     Correct.

   18   Q     Who is Marquitos?

   19   A     Marquitos is, well, Benny's right-hand man, his second in

   20   command for operations.

   21   Q     Are you aware of who supplied Arturo Guzman and the

   22   Beltran Leyvas with cocaine during this period when they were

   23   receiving shipments in Chiapas?

   24   A     Well, the Valle cartel.

   25   Q     How do you know about that?



                                 LAM       OCR       RPR
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                     J. Zambada Garcia - direct - Parlovecchio               848


    1   A     Well, Arturito commented to me one time it was the people

    2   from Cali and the Valle cartel who were sending them.

    3   Q     When you're referring to "Arturito," which of the two

    4   Arturo are you referring to?

    5   A     Arturito Guzman.     We also called him that, we called him

    6   Arturito.

    7   Q     Did you have an understanding whether Arturito Guzman and

    8   the Beltran Leyvas were doing the Chiapas shipments on behalf

    9   of the Defendant?

   10   A     Arturito commented to me that he was working on this for

   11   himself and for his brother, that he was the head of the

   12   family and he was doing it to help them out.

   13   Q     Who was the head of the family?

   14   A     Chapo.

   15   Q     Do you know whether Arturito, or Arturo, Guzman was

   16   communicating with the Defendant when the Defendant was in

   17   prison?

   18   A     Yes.

   19   Q     How do you know about that?

   20   A     Arturito commented to me that he would speak with him on

   21   the phone through the lawyers.

   22   Q     Both on the phone and through the lawyers?

   23   A     Correct.

   24   Q     Now, when the Defendant was in prison, did you have any

   25   discussions with Arturo Guzman about getting him out,



                                 LAM       OCR      RPR
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                       J. Zambada Garcia - direct - Parlovecchio             849


    1   generally?

    2   A       Yes.

    3   Q       What did you discuss with him?

    4   A       Well, Arturito said that his first purpose in life was to

    5   get him out, that he was -- that he was using the attorneys

    6   and that he was very hopeful, that he wanted to get him out.

    7   Q       Sir, when you say "he wanted to get him out," who do you

    8   mean?    Who wanted to get whom out?

    9   A       Arturito wanted to get Chapo out of jail.

   10   Q       Other than Arturo Guzman, did you hear anyone else

   11   generally discuss getting the Defendant out of jail?

   12   A       Yes.

   13   Q       Who?

   14   A       I heard my brother.     My brother two or three times

   15   commented to me that Chapo was going to get out soon, that

   16   they were very close to making the arrangements to get him

   17   out.

   18   Q       I'm going to direct your attention to December of the

   19   year 2000.

   20                  What, if anything, did your brother Mayo say to you

   21   about the Defendant getting out of jail?

   22   A       He said to me, It's very soon that he's going to get out.

   23   Now they're going to get him out.

   24                  And I said to him, Are the attorneys going to get

   25   him out?



                                  LAM      OCR      RPR
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                       J. Zambada Garcia - direct - Parlovecchio             850


    1                  And he said, Yes.

    2                  And I said, okay.   That's good.    I'm really happy.

    3   Q       Did you have any other discussions with your brother Mayo

    4   about the Defendant getting out of jail after that

    5   conversation?

    6   A       Yes.   In mid January -- and now we're in 2001 -- my

    7   brother came to my house in Acapulco.         He said, We have to

    8   leave.    I want you to come with me.      We have to leave because

    9   now my compa Chapo is going to get out of jail.

   10                  And I said, When is he out?

   11                  He said to me, He's going to escape.

   12                  And he said, And this place, Guerrero, is the first

   13   place that they're going to come looking for him because this

   14   is where Chapo has always been.

   15   Q       What happened after you had this conversation with your

   16   brother Mayo?

   17   A       We left to Mexico City.

   18   Q       What happened next?

   19   A       Maybe four, five days later, he called me and he said,

   20   Come.    I need to talk with you.

   21                  I went to visit him, and he said, My compa Chapo

   22   escaped.

   23                  And I said, Oh, that's good.

   24   Q       And where were you when you had this conversation with

   25   your brother Mayo?



                                  LAM      OCR       RPR
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                     J. Zambada Garcia - direct - Parlovecchio               851


    1   A     At his house.

    2   Q     What else did you discuss during that conversation?

    3   A     He said to me, I want to ask for your support.          With all

    4   those friends that you have inside the government, if they

    5   hear anything or you hear anything about locations or

    6   operations, to let me know.

    7   Q     When Mayo told you to listen to your friends in the

    8   Government about any operations, what did you understand that

    9   to mean?

   10   A     Mayo said to me, I'm going to be doing this also myself

   11   with my friends, that if I had heard anything that they

   12   located him or are planning to recapture him, that we were

   13   going to go do something to help him out.

   14   Q     Who are these friends?

   15   A     PGR friends, military friends, PFP, intelligence.

   16   Q     What, if anything, did you hear from your Government

   17   connections after the Defendant escaped?

   18   A     I know that they were searching for him, that more or

   19   less they knew where he was, but that nobody knew anything.

   20               My brother did have more precise information about

   21   what was going on.

   22   Q     Do you know whether your brother provided assistance to

   23   Chapo right after his escape?

   24   A     That's right.

   25   Q     How do you know about that?



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               852


    1   A      Well, after a few days, I don't know, maybe ten or twelve

    2   days, my brother called me and said, Come over.          I need to see

    3   you.

    4                So, I went to see him.      He said, Look, I need you to

    5   help me.    I need you to find some coordinates where a

    6   helicopter can land.      And it needs to be a safe location.

    7   Q      What did you do?

    8   A      I went to find the coordinates.      I returned back and I

    9   showed them to him and I said, Here's the location.

   10                And he said, Okay.    We're going to go and receive my

   11   compa Chapo.    We're going to rescue him because they're going

   12   to grab him where he is.

   13   Q      And who was going to grab him?

   14   A      The special military forces operation.

   15   Q      Who arranged for this helicopter?

   16   A      My brother Mayo.

   17   Q      And you testified that you got the coordinates for where

   18   the helicopter was going to land.

   19   A      That's right.

   20   Q      Where did you plan for the helicopter to land with the

   21   Defendant?

   22   A      In Querataro.

   23                (Exhibit published to the jury.)

   24   Q      Using Government Exhibit 502 in evidence, can you show

   25   the jury where you planned for the helicopter to land for the



                                  LAM      OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               853


    1   Defendant?

    2   A     Querataro.    And the helicopter was going to land close to

    3   the city of San Juan del Rio.

    4   Q     To your knowledge, who learned about where the helicopter

    5   was going to land for Chapo?

    6   A     Just my brother and me, his brother Arturo, and the

    7   pilot.

    8   Q     And how did Mayo communicate to Chapo about this

    9   helicopter plan?

   10   A     Through his brother Arturo Guzman.

   11   Q     Who was the helicopter pilot who was going to pick up the

   12   Defendant?

   13   A     His name was Patricio.

   14   Q     Did Patricio, in fact, pick up the Defendant in the

   15   helicopter?

   16   A     Yes, he picked him up.

   17   Q     How do you know?

   18   A     My brother and I went to receive him.

   19   Q     Can you describe what happened the day that Patricio took

   20   the helicopter to pick the Defendant up?

   21   A     Well, that same day my brother said to me, He's going to

   22   come tomorrow.     Come for me at 5 a.m., early, because he's

   23   going to arrive early.      So, come and pick me up at 5 a.m.

   24                I went by to get him, and we went to receive him.

   25   And around 7 a.m., maybe a little bit before, the helicopter



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio                854


    1   appeared, and Chapo was in it.

    2   Q       What did the area look like where the helicopter landed?

    3   A       It was a semi-deserted location.      There's some

    4   medium-sized bushes, a lot of open space, flat.          Suited for

    5   that.

    6   Q       Who was present when the helicopter landed?

    7   A       My brother Mario, Chichi, Chepe, my wife, and I.

    8   Q       Who is your wife?

    9   A       Patty.

   10   Q       And why was your wife there?

   11   A       Well, normally, we were always together and she would

   12   always go with me when I would, you know, say good-bye to my

   13   brother.    He used the helicopter.      And I didn't want to tell

   14   her that it was Chapo that we were going to receive.

   15                So, she said, I'll go with you.      You know, we'll go

   16   say good-bye to your brother.       Why don't you want me to come?

   17                And I said, Okay.    Let's go.

   18   Q       You also mentioned that somebody named Chichi was there

   19   as well.

   20                Who's Chichi?

   21   A       Workers.

   22   Q       And Chepe?

   23   A       Also a worker.

   24   Q       Now, what happened after the helicopter landed?

   25   A       Well, Chapo got out.    My brother was very happy and he



                                 LAM       OCR      RPR
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                     J. Zambada Garcia - direct - Parlovecchio               855


    1   was too.    They embraced each other.      He introduced me to him.

    2   That was the first time I met him in person.

    3

    4               (Continued on the next page.)

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                       Zambada Garcia - direct - Parlovecchio                856


    1   BY MS. PARLOVECCHIO:

    2   Q     After the defendant greeted you and your brother, what

    3   happened next?

    4   A     We left for Mexico City.

    5   Q     Who drove to Mexico City?

    6   A     I drove.    My wife was with me and Chapo.

    7   Q     Where did Chapo sit in the car?

    8   A     In the back seat.

    9   Q     How long was the drive to Mexico City?

   10   A     Maybe two hours and 45 minutes approximately.

   11   Q     What do you remember from the drive?

   12   A     Well, we spoke about normal things.        When we were getting

   13   close to the tollbooth I told him to put a newspaper in front

   14   of his face so that the camera would not show his face because

   15   he was very wanted then.

   16   Q     What happened when you entered Mexico City?

   17   A     Well, over there the police that worked for me were

   18   waiting for me.     There was a police car for the district

   19   judicial police and motorcycle for the district police.           The

   20   motorcycle went in front of us.       There was judicial police

   21   behind us.

   22   Q     What if any reaction did the defendant have when he saw

   23   all these police surrounding you?

   24   A     Well, he had the natural reaction.        He got worried.     But

   25   I said don't worry about it.       These are our people.      They are



               Anthony M. Mancuso, CSR         Official Court Reporter
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                        Zambada Garcia - direct - Parlovecchio               857


    1   here to protect us.      No one is going to touch us from here

    2   now.

    3   Q      Where did you take the defendant in Mexico City?

    4   A      To my brother Mayo's house.

    5   Q      Where was the house located?

    6   A      In the neighborhood of Reforma Lomas.

    7   Q      Who was present at Mayo's house when you brought the

    8   defendant there?

    9   A      Primo Tono was there.     And the girls that helped my

   10   brother out, they were in the house, two sisters.

   11   Q      What happened after you all arrived at Mayo's house?

   12   A      Well, my brother and Chapo started to chat and I talked

   13   to them for a little bit.       Everyone was super happy.

   14   Q      When you were at Mayo's house, did you and Mayo discuss

   15   where the defendant was going to stay?

   16   A      That's right.

   17   Q      What did you discuss?

   18   A      Well, my brother asked me if I could loan him a ranch

   19   that I had so that he can stay there for a while.

   20   Q      And what did you say?

   21   A      I told him that if he wanted me to, I can take him with

   22   me and I can keep him with me for a month or two or however

   23   much time he deemed necessary.

   24   Q      Who did you take with you?

   25   A      Chapo.   But I did clear up with him what you want was for



               Anthony M. Mancuso, CSR         Official Court Reporter
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    1   me to lend him my ranch so he could bring his armed people and

    2   all his friends, that's not going to work, that ranch is not

    3   going to work for them.

    4   Q       Whose people?

    5   A       Chapo's.

    6   Q       Did you have an understanding why the defendant had armed

    7   people around him at that time?

    8   A       Well, he was fleeing from the police.      He obviously

    9   didn't want to be recaptured.

   10   Q       What, if anything, did you hear the defendant and your

   11   brother Mayo discuss while you were at Mayo's house that day?

   12   A       Well, I listened to them talk for awhile.       They were

   13   talking about their plans.       They said now we're going to work.

   14   We're together again.      It's so good that we're all fine, you

   15   know.    They're happy.    They were happy.

   16   Q       When you heard them say let's work together, what did you

   17   understand that to mean, what kind of work?

   18   A       To our work, bringing cocaine from Colombia, drug

   19   trafficking.

   20   Q       Did you ever speak to your brother Mayo about how the

   21   defendant escaped from jail?

   22   A       Yes.   Some days or months later my brother told me about

   23   how it had happened.

   24   Q       What did he tell you?

   25   A       Well, he told me that they were worried because there was



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    1   a man named Chito who was a correctional officer at the

    2   prison, had escaped with him, with Chapo.         Because he had been

    3   the one who helped me get out.       My brother told me he had

    4   helped them, he had taken them out in the laundry cart.

    5   Q     Just to be clear, you said that Chito -- what was Chito's

    6   role in helping the defendant escape from jail?

    7   A     Well, what my brother told me is he said Chito took out

    8   Chapo in a laundry cart from the prison.         And he put him in

    9   the laundry truck and that's the way that he got out of the

   10   prison, Chapo did, and Chito went with him.         And now Chito

   11   wants to turn himself over to the police he told me.           And my

   12   Compa Chapo is worried and I am too. And I said, well let him

   13   turn himself in.     What can he say, just the truth?        So he

   14   said, well, let's see what happens.

   15   Q     Now, taking a step back, right after you helped the

   16   defendant with his escape, approximately how long did the

   17   defendant stay at Mayo's house in Mexico City?

   18   A     He stayed for only one day.       Two days later, he moved out

   19   from there.    That's Chapo.

   20   Q     And how do you know about that?

   21   A     Because, two days later my brother called me and I went

   22   to see him and I could see that Chapo was not there any more.

   23   And I asked them, I said what happened with El Senor.           He told

   24   me he left.    He went to a ranch belonging to my compadre

   25   Barbarino and he told me I want you to take me to see him.



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                       Zambada Garcia - direct - Parlovecchio                860


    1   This is the address.      He showed me a piece of paper.

    2   Q       Where was Barbarino's ranch located?

    3   A       It was located about an hour and fifteen minutes from my

    4   brother's house in the State of Mexico City.

    5   Q       I'm showing what's marked for identification as

    6   Government's Exhibit 506-11.       What is this?

    7   A       It's a map of the State of Mexico.

    8   Q       How do you recognize this?

    9   A       Well, I know the state very well.

   10                MS. PARLOVECCHIO:    The government moves to admit

   11   Government's Exhibit 506-11.

   12                MR. PURPURA:    No objection.

   13                THE COURT:     Received.

   14                (So marked.)

   15   Q       Mr. Zambada, using Government's Exhibit 506-11, can you

   16   show us where Barbarino's ranch was located?

   17   A       It's here, you know near -- coming from the Mexico City,

   18   from the Queretaro direction.       When you're going to where the

   19   tollbooth is, Toluca from Queretaro, there's an exit to Villas

   20   del Carbon.    From that exit the ranch was about half hour

   21   away.

   22   Q       Who is Barbarino?

   23   A       Barbarino was one of the most feared and famous gunmen

   24   that Chapo had and as well as Arturo Beltran Leyva.

   25   Q       Did you take your brother Mayo to Barbarino's ranch?



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    1   A     That's right.

    2   Q     What did the ranch look like?

    3   A     It was a small ranch with a big house made out of the

    4   wood, kind of the type that you have here in the U.S.

    5   Q     Who was present at Barbarino's ranch when you arrived?

    6   A     Barbarino and his wife was there, Arturito Guzman.

    7   Javier, Barbarino, my compa, Juan Azul Esparragoza.

    8   Q     How long were you at the ranch?

    9   A     We were there for about two hours.

   10   Q     And what was discussed at this meeting?

   11   A     Well, same things, that they were settling down.          Chapo

   12   was a little concerned about, you know, finding a place to be,

   13   to settle in.

   14   Q     What, if anything, did you hear discussed about the drug

   15   business?

   16   A     Same thing as the first time.       Like, let's see what we

   17   can do.     We have to start working.

   18   Q     Who was saying this?

   19   A     My brother Mayo and Chapo.

   20   Q     Now, after this occasion, did you meet with Chapo at

   21   Barbarino's ranch again?

   22   A     Yes.

   23   Q     Who was present at the second meeting?

   24   A     It was the same, there was Juan Jose Esparragoza El Azul,

   25   there was Barbarino, there was Javier, Arturito Guzman and



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    1   there was a Colombian woman named Christina.

    2   Q     Who was the Colombian woman named Christina?

    3   A     Well, Arturito Guzman told me she is a Colombian woman

    4   who has been a friend of my brother's for many years.           She has

    5   brought cocaine shipments for my brother many times.           She's

    6   very good to work with.      And she came to see my brother, well,

    7   you know, to see if we can start working together.

    8   Q     Now, did you speak with the defendant at the second

    9   meeting?

   10   A     Yes.   I spoke to him.

   11   Q     And did you ever hear any conversations between the

   12   defendant and your brother Mayo?

   13   A     For a while.

   14   Q     What did you hear during that discussion?

   15   A     Well, my brother said, look, you know, I have good

   16   infrastructure in Chiapas.       We have very good land transport.

   17   They were talking about business.        He said my brother has very

   18   good controls here in Mexico City, through the airports,

   19   things like that and then he said, okay, then we have to get

   20   together, start working together.        Don't worry.    Everything's

   21   ready so we can start working.

   22   Q     Who said that last part?

   23   A     My brother Mayo told that to Chapo.        Whatever you need,

   24   you can count on it.      We have the equipment.

   25   Q     What did the defendant say to this?



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                        Zambada Garcia - direct - Parlovecchio                863


    1   A       He said, yeah, I'm going to start again.       I'm going to

    2   organize my people.       I'm going to organize my things.      There's

    3   my brother Arturo and there's Arturo Beltran, so let's do

    4   this.    And after that I left the conversation that was part of

    5   what they talked about -- I'm sorry -- they talked away from

    6   where I was.

    7   Q       So you stepped off to the side while they continued to

    8   talk?

    9   A       Yes.    Arturito, his brother and I were really close

   10   friends from my times in Acapulco.        We got along together very

   11   well.

   12   Q       Arturito Guzman, was he the defendant's younger brother

   13   or older brother?

   14   A       Younger.

   15   Q       Did you have any other meetings with the defendant at

   16   Barbarino's ranch?

   17   A       Yes.   There was another meeting.

   18   Q       And who entered this other meeting?

   19   A       Again there was Christina, my wife, Barbarino, his wife,

   20   Javier, Arturito, Azul I think was there again.

   21   Q       Were there other meetings after that meeting at

   22   Barbarino's?

   23   A       Yes.   We had some more and we talked about some of the

   24   same things.       Chapo was concerned about where he should settle

   25   down.    He was thinking about a ranch in the area of says



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                       Zambada Garcia - direct - Parlovecchio                864


    1   Tejupico.     I told him that that was not a great area.        My

    2   brother told him let's go to Sinaloa.        I hold control over

    3   there.   Let's go to your native lands.

    4   Q     Now, what, if anything, do you remember about the last

    5   meeting you had with the defendant at Barbarino's ranch?

    6   A     The last meeting was to christen a son of Barbarino's.

    7   My brother and Mayo and Chapo christened him.

    8   Q     Who was present at that baptism?

    9   A     Chapo, my brother, who was the godfather, my wife,

   10   Christina, Barbarino and his wife, Arturito Guzman, El Azul,

   11   Kiki Fernandez and other people that I didn't know.           It was a

   12   very private thing.      It was maybe a group of about 20 people.

   13   Q     Who brought the priest?

   14   A     I took the priest.

   15   Q     Did the priest meet your brother?

   16   A     Yes.

   17   Q     How about the defendant?

   18   A     Also.

   19   Q     Without telling us what the priest said, what was the

   20   priest's demeanor when he met your brother and Chapo?

   21   A     Well, he was surprised.      He looked a little bit nervous.

   22   Q     Did you have an understanding why the priest had that

   23   reaction?

   24   A     Well, Chapo was coming out on the news all the time and

   25   my brother also.



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  1   Q     Did Chapo stay at Barbarino's ranch?

  2   A     No.    After that meeting Chapo left.

  3   Q     Now, after the defendant escaped from jail in 2001, was

  4   the war still going on with the Arellano Felixes?

  5   A     Yes.    It still was continuing, continuing fighting

  6   against the Arellano Felix.

  7   Q     Who was Chapo aligned with in the war against the

  8   Arellano Felixes in 2001?

  9   A     With my brother Mayo.

 10   Q     What, if anything, do you recall Chapo and Mayo doing

 11   with regard to the Arellano Felixes at this time?

 12   A     They killed Ramon.

 13   Q     Who told you about the killing of Ramon?

 14   A     My brother commented to me that Chapo was going to help

 15   him with his people to kill him in Mazatlan.

 16   Q     This is Ramon Arellano?

 17   A     Yes, Ramon Arellano.

 18   Q     Approximately when did you have this conversation with

 19   Mayo about Chapo killing Ramon Arellano?

 20   A     In 2002, beginning of 2003, more or less I think.

 21   Q     What was your understanding of why the defendant wanted

 22   Ramon Arellano Felix dead?

 23   A     Ramon Arellano had killed many of Chapo's friends and

 24   friend of ours too.      They had killed our brother.      He was very

 25   dangerous.



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  1   Q       Just to be clear, this is the same Ramon Arellano who the

  2   defendant tried to kill at Christina's in 1992?

  3   A       Exactly.

  4   Q       Are you aware of how Ramon Arellano was murdered?

  5   A       Yes.

  6   Q       How do you know about this?

  7   A       My brother talked to me.

  8   Q       What did your brother Mayo tell you?

  9   A       He told me that they located him in Mazatlan, in Sinaloa,

 10   that they had him stopped with the police.         He didn't stop.

 11   He tried to get away until he got right across from a hotel

 12   and then he got out and he ran.       He wanted to go in the hotel.

 13   They shot him.     They put a bullet in his neck and he fell down

 14   dead.

 15   Q       Who shot Ramon Arellano?

 16   A       My brother didn't tell me precisely who.

 17   Q       Did you ever hear the defendant speak about Ramon

 18   Arellano's death?

 19   A       On occasion, up in the mountains we would talk about

 20   that.

 21   Q       And what did you hear him say about it?

 22   A       That if anything had really given him pleasure it was to

 23   have killed Ramon Arellano.

 24   Q       Approximately when did that conversation take place?

 25   A       Maybe -- I don't remember exactly.      But more or less



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  1   maybe 2005.

  2   Q     Now, you testified earlier that your brother suggested

  3   that the defendant go to Sinaloa.

  4               THE COURT:    Is this a good time for a break?

  5               MS. PARLOVECCHIO:     We can stop here.

  6               THE COURT:    We'll take our midafternoon break,

  7   ladies and gentlemen.      We'll be back in here at 3:20.       Please,

  8   do not talk about the case amongst yourselves.

  9               See you in a few minutes.

 10               (Jury excused.)

 11               THE COURT:    Okay, we're in recess until 3:20.

 12               (Recess taken.)

 13               (Continued on next page.)

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  1                (In open court; outside the presence of the jury.)

  2                THE COURT:    Have a seat for a minute.

  3                I have been advised that there is a technical

  4   malfunction in the building which may shortly lead to an

  5   electrical outage which would be bad for a lot of reasons.

  6                In light of the fact that there is less than an hour

  7   left on the day at this point, my strong inclination, unless

  8   the attorneys try to talk me out of it, is to send the jury

  9   home and we will pick up on Monday.

 10                MR. PURPURA:       Your Honor, I for one enjoy

 11   Ms. Parlovecchio, she can continue all day, but we'll defer to

 12   the Court.

 13                MS. PARLOVECCHIO:       We'll also yield to the Court.

 14                THE COURT:    Let's get the jury and then I will send

 15   them home.

 16                If the marshals want to take the witness off the

 17   stand, you can do that.         If you want to wait --

 18                THE MARSHAL:       We'll do that then.

 19                (Witness exits the courtroom.)

 20                THE COURT:    We have one more thing to talk about

 21   after I send the jury home.

 22                (Jury enters.)

 23                THE COURT:    All right.     Everyone have a seat.

 24                Ladies and gentlemen, there is a technical problem

 25   on this floor, in the building, a technical defect which the



                     CMH        OCR       RMR     CRR       FCRR
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  1   fire marshal tells me puts us at some risk for an electrical

  2   outage which would plunge us all into the dark and considering

  3   there are no windows in this room, it would indeed             be quite

  4   dark.   So, since we have less than an hour on the day anyway,

  5   rather than take that risk, I am going to send you home now.

  6               I do want to remind you that we have a long break.

  7   We have a three day weekend coming up.           We will be back here

  8   Monday morning at 9:30, but please remember how important it

  9   is that you follow all the admonitions I have given you about

 10   not communicating with anyone, not going on social media,

 11   staying away from any publicity about the case which there

 12   will be, I assure you, just keep way from all of that, and

 13   keep an open mind.

 14               Have a very restful weekend.         We've got a couple

 15   hard days of work next week.        See you then.     9:30.

 16               (Jury exits.)

 17               THE COURT:    Okay.    Have a seat.

 18               I was told by the marshal that there might be an

 19   issue with some of the lawyers taking pictures.             Is there

 20   anything that anybody needs to raise with me?          If not, I am

 21   not going to worry about it.

 22               MR. BALAREZO:      Your Honor, earlier this morning,

 23   with the government's agreement, I took a picture of the chart

 24   that they had, this thing.        That was it.    That's what we did.

 25               THE COURT:    Okay.    Nobody has a problem?       I don't



                     CMH       OCR      RMR      CRR       FCRR
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  1   have a problem.

  2               MR. BALAREZO:      I don't know if that's what the issue

  3   was.

  4               THE COURT:    I don't know either.

  5               Okay.    That's all good.      We will see you 9:30 sharp

  6   on Monday morning.     Sorry about this delay but I think it is

  7   for the best considering the circumstances.         I am told when

  8   you are out in the hall, you will immediately appreciate what

  9   the nature of the problem is.

 10               Have a good weekend.        See you Monday.

 11               (Matter adjourned to November 19, 2018 at 9:30 a.m.)

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